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  12    Firearms
  13                      IN THE UNITED STATES DISTRICT COURT
  14                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  15
  16
  17
        JAMES MILLER, et al.,                         19-cv-1537 BEN-JLB
  18
                                        Plaintiffs,
  19
                     v.                               DECLARATION OF BLAKE
  20                                                  GRAHAM IN SUPPORT OF
                                                      DEFENDANTS’ OPPOSITION TO
  21    CALIFORNIA ATTORNEY                           MOTION FOR PRELIMINARY
        GENERAL XAVIER BECERRA,                       INJUNCTION
  22    et al.,
  23                                  Defendants.
  24
  25
  26
  27
  28

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    1
                              DECLARATION OF BLAKE GRAHAM
    2
        I, Blake Graham, declare:
    3
              1.       I am a Special Agent in Charge for the California Department of
    4
        Justice, Bureau of Firearms. I make this declaration in support of Defendants’
    5
        opposition to Plaintiffs’ motion for a preliminary injunction. This declaration is
    6
        based on my own personal knowledge and experience, and if called as a witness, I
    7
        could and would testify competently to the truth of the matters discussed in this
    8
        declaration.
    9
                            BACKGROUND AND QUALIFICATIONS
  10
              2.       I received a Bachelor of Science degree in May 1992 in Criminal
  11
        Justice from the California State University Sacramento. My coursework included
  12
        forensics, corrections, and a number of classes in criminal justice-related topics.
  13
              3.       Since 1994, I have worked as either an investigator for the California
  14
        Department of Alcoholic and Beverage Control (ABC) or as a Special Agent for the
  15
        California Department of Justice (DOJ). My job responsibilities in all of these
  16
        positions have involved the recovery, investigation, and identification of firearms,
  17
        the ammunition used for those firearms, and the magazines used for feeding
  18
        ammunition for those firearms.
  19
              4.       My work as an Investigator for ABC between 1994 and 1999 included
  20
        the recovery of firearms, magazines, and ammunition.
  21
              5.       Between 1999 and 2002, I worked as a Special Agent for DOJ, and
  22
        was assigned to the Violence Suppression Program in the Bureau of Narcotic
  23
        Enforcement. In this job, I investigated violent crimes and various violations
  24
        occurring at California gun shows. As a gun-show enforcement agent, I attended
  25
        gun shows in the San Francisco Bay Area to monitor, and if necessary, seize,
  26
        firearms, ammunition, and magazines sold illegally to felons, parolees, and
  27
        probationers.
  28
                                                    1
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    1         6.     From October 2002 to March 2019, I was a Special Agent and Special
    2   Agent Supervisor, for the DOJ’s Bureau of Firearms (BOF). In that capacity, I was
    3   assigned to recover firearms from prohibited individuals, monitor gun shows for
    4   illegal activities, conduct surveillance on gun dealers suspected of illegal activity,
    5   and investigate illegal trafficking of firearms, manufacturing of assault weapons
    6   and machine guns, and illegal possession of various magazines and ammunition.
    7   From April, 2019 to the present, I have been a Special Agent in Charge, for the
    8   BOF. In this capacity, I supervise teams of Special Agents who are assigned to
    9   recover firearms from prohibited individuals, monitor gun shows for illegal
  10    activities, conduct surveillance on gun dealers suspected of illegal activity, and
  11    investigate illegal trafficking of firearms, manufacturing of assault weapons and
  12    machine guns, and illegal possession of various magazines and ammunition.
  13          7.     Since 2008, I have been responsible for reviewing handguns that are
  14    submitted by manufacturers for inclusion in California's roster of handguns certified
  15    for sale. A copy of the roster can be found on the DOJ website:
  16    http://certguns.doj.ca.gov/.
  17          8.     During my career, I have attended at least 40 gun shows and have
  18    become knowledgeable about current laws pertaining to the sales of firearms,
  19    assault weapons identification, assault weapons registration, the Automated
  20    Firearms System (AFS), ammunition, and ammunition containers—including large-
  21    capacity magazines (LCMs)—in the State of California.
  22          9.     I have been trained and qualified to carry several different types of
  23    firearms, including the Glock Model 17 (9 mm semiautomatic pistol), multiple
  24    Glock .40 caliber semiautomatic pistols, the Heckler & Koch MP5 (9 mm
  25    submachine gun), the Smith & Wesson, Model 60 (.38 Special revolver), multiple
  26    .45 caliber semiautomatic pistols, and the Colt, Model M4 (5.56 mm machine gun).
  27    I have access to other Department-owned handguns, shotguns, submachine guns,
  28    machine guns, rifles, shotguns and 40 mm “less lethal” launchers.
                                                   2
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    1         10.     Throughout my career, I have conducted training programs in the
    2   identification and handling of firearms. I have also trained other Special Agents of
    3   BOF on assault weapons and firearms identification. I also have given firearms
    4   identification classes to members of the multiple District Attorney’s offices in the
    5   State of California.
    6         11.     I have also completed at least 15 firearms training courses since 1994.
    7   These courses covered the assembly and use of specific firearms, cartridge
    8   composition (bullet, propellant, and casing), common calibers used by law
    9   enforcement, and training on rifle and handgun ammunition. I have been certified
  10    as a California Peace Officer Standards and Training (POST)-approved Firearms
  11    Instructor/Rangemaster since 2002.
  12          12.     During my career, I have become proficient in the use and disassembly
  13    of various revolvers, pistols, submachine guns, shotguns, and rifles. I have effected
  14    or assisted in the arrest of at least thirty persons for illegal weapons possession. In
  15    the course of my employment, I have participated in more than 30 search warrants
  16    involving the illegal possession of firearms.
  17          13.     I have been qualified as an expert witness regarding the use of firearms
  18    in 16 cases in both federal and state court since 2007.
  19                                         OPINIONS
  20          14.     I am aware of the current state and former federal laws restricting the
  21    manufacture and sale of assault weapons and large-capacity magazines (LCMs) in
  22    California.
  23          15.     California’s Roberti-Roos Assault Weapons Control Act (AWCA)
  24    prohibits the sale of assault weapons and ownership of unregistered assault
  25    weapons. The AWCA prohibits the manufacture, sale, and possession of specified
  26    rifles, pistols, and shotguns, which are defined as assault weapons by their make
  27    and model. The lists of prohibited assault weapons are provided in Penal Code
  28    section 30510 and section 5499 of title 11 of the California Code of Regulations;
                                                   3
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    1   these lists are commonly referred to as Category 1 and Category 2 weapons,
    2   respectively. Some of the firearms listed in Penal Code section 30510 are weapons
    3   that were prohibited under the federal assault weapons ban, which was in effect
    4   from 1994 to 2004. In general, the firearms listed in Penal Code section 30510 and
    5   the additional ones listed in the regulations could be considered semiautomatic
    6   versions of military weapons. It is my understanding that the Plaintiffs in this
    7   litigation are not challenging the assault weapons listed in section 30510 of the
    8   Penal Code or section 5499 of title 11 of the California Code of Regulations.
    9         16.    In response to attempts by firearm manufacturers to circumvent the
  10    AWCA, in 2000, the California Legislature amended the AWCA to include an
  11    alternative definition of assault weapons based on certain features or characteristics
  12    of the firearm instead of their make or model. The features-based definitions are
  13    provided in Penal Code section 30515; firearms subject to the AWCA under these
  14    alternative definitions are generally referred to as Category 3 weapons. While it is
  15    not necessary for a Category 1 or Category 2 assault weapon to have certain
  16    features, those listed weapons usually share one or more of the features listed in
  17    Penal Code Section 30515. For semiautomatic rifles that qualify as assault
  18    weapons, the most common feature of prohibited assault weapons is likely the
  19    pistol grip. The next most common features are probably telescoping stocks and
  20    flash suppressors. In my experience, assault pistols and assault shotguns are much
  21    less common in California than assault rifles. .
  22          17.    I understand that Plaintiffs in this case are challenging California’s
  23    restrictions on assault weapons that apply to rifles, pistols, and shotgun deemed to
  24    be assault weapons under Penal Code section 30515(a), i.e., Category 3 assault
  25    weapons.
  26          18.    The California Attorney General’s Office has released an Assault
  27    Weapons Identification Guide (last updated in November 2001). The guide
  28    provides photographs of Category 1 and Category 2 assault weapons, as well as a
                                                  4
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    1   discussion of the features-based definitions for Category 3 assault weapons. A true
    2   and correct copy of the Assault Weapons Identification Guide is attached as
    3   Exhibit A to this declaration. As noted, many of the Category 3 assault weapons
    4   have the same features as Category 1 and Category 2 weapons, so the photographs
    5   of those categories are illustrative of the features for Category 3 weapons. While
    6   the terms “assault rifle,” “assault pistol,” and “assault shotgun” are not used in the
    7   Penal Code, I use those terms in this declaration to refer to rifles, pistols, and
    8   shotguns, respectively, that qualify as assault weapons under the statute.
    9   I.   ASSAULT-WEAPON DEFINITIONS BASED ON PROHIBITED FEATURES OR
             CHARACTERISTICS
  10
             A.        Assault Rifles (Section 30515(a)(1)-(3))
  11
              19.           Penal Code section 30515(a)(1) defines an assault weapon to include
  12
        “a semiautomatic, centerfire rifle that does not have a fixed magazine but has any
  13
        one” of the following features:1
  14
                  a.        A pistol grip that protrudes conspicuously beneath the action of the
  15
                            weapon.
  16
                  b.        A thumbhole stock.
  17
                  c.        A folding or telescoping stock.
  18
                  d.        A grenade launcher or flare launcher.
  19
                  e.        A flash suppressor.
  20
                  f.        A forward pistol grip.
  21
                       1.     Semiautomatic
  22
              20.           As a threshold matter, this features-based definition applies to only
  23
        semiautomatic, centerfire rifles that lack a fixed magazine. A semiautomatic rifle is
  24
        “a firearm functionally able to fire a single cartridge, eject the empty case, and
  25
        reload the chamber each time the trigger is pulled and released.” California Code
  26
              1
                 These features have been defined for purposes of assault-weapon
  27    registration in section 5471 of title 11 of the California Code of Regulations
        (hereafter, Section 5471). A true and correct copy of Section 5471 is attached as
  28    Exhibit B.
                                                         5
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    1   of Regulations, Title 11, § 5471(hh). An automatic firearm, otherwise known as a
    2   “machine gun or sub-machinegun,” by contrast, fires multiple rounds with a single
    3   pull of the trigger. The California Penal Code defines “machinegun” to mean “any
    4   weapon that shoots, is designed to shoot, or can be readily restored to shoot,
    5   automatically more than one shot, without manual reloading, by a single function of
    6   the trigger.” Penal Code, § 16880(a). Some machineguns and submachine-guns
    7   can be set to fire in “burst” mode with a fixed number of rounds being fired with
    8   each pull of the trigger. More commonly, a functional and fully loaded machine
    9   gun or sub-machine gun can fire or continuously until the trigger is released.
  10    Select-fire rifles can alternate between semiautomatic fire and automatic and/or
  11    burst fire depending on the setting selected by the shooter. Law enforcement
  12    officers are generally issued semiautomatic rifles.
  13                2.     Centerfire
  14          21.        The next threshold requirement for the features-based definition is that
  15    the rifle be a “centerfire” rifle. “Centerfire” refers to the type of ammunition the
  16    firearms were built to fire, namely a “cartridge with its primer located in the center
  17    of the base of the case.” California Code of Regulations, Title 11, § 5471(j). This
  18    excludes all semiautomatic rimfire (usually .22 caliber) rifles that might have one or
  19    more listed features.
  20          22.        Centerfire rifles generally use rounds that are associated with increased
  21    lethality. The United States military uses various centerfire rifle rounds (5.56 mm
  22    and 7.62 x 51, for example) in multiple weapons systems. Some California assault
  23    rifles are capable of firing the same centerfire rounds as these military weapons and
  24    could have the same high capacity for firepower as the military weapons. In my
  25    experience being around the California gun industry and gun culture for nearly 20
  26    years, rounds most commonly used with assault rifles are rifle-caliber rounds such
  27    as .223 caliber, 5.56 mm, or 7.62 x 39 mm. These rounds will typically defeat
  28    normal bullet resistant body armor used by law enforcement. While rifle resistant
                                                      6
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    1   plates can be added to most law enforcement body armor, the rifle plates are not
    2   going to block or resist rifle-caliber rounds fired at all angles. Some rifle rounds
    3   are strong enough to defeat even the rifle-resistant plates available to law
    4   enforcement.
    5         23.        Some assault rifles are chambered in traditional pistol-caliber rounds,
    6   such as 9 mm, .40, and .45 calibers. Pistol-caliber rounds fired from assault rifles
    7   chambered in these calibers may or may not be stopped by traditional law
    8   enforcement body armor. Generally, the longer the barrel the faster the bullet will
    9   travel. A rifle and handgun both shooting the same ammunition may have different
  10    results in terms of penetrating body armor of equal protection levels. The shorter
  11    barrel lengths usually associated with a normal semiautomatic handgun might be 3-
  12    5 inches long. By state and federal law, a rifle generally must have at least a 16-
  13    inch long barrel. The rifle barrel being at least three times longer than most
  14    semiautomatic handgun barrels leads to the bullet leaving the barrel at a higher rate
  15    of speed (or higher muzzle velocity). In general, the faster the bullet is traveling,
  16    the more likely it is to defeat body armor. For example, the higher muzzle velocity
  17    of .223 rounds shot out of a rifle can penetrate the soft body armor worn by most
  18    law enforcement personnel, and can have greater range depending on the weapon.
  19                3.     Lacking a Fixed Magazine Capable of Holding No More
                           than 10 Rounds
  20
              24.        In addition to applying to only semiautomatic, centerfire rifles, the
  21
        features-based definition applies to rifles that lack a “fixed magazine,” which the
  22
        Penal Code defines as “an ammunition feeding device contained in, or permanently
  23
        attached to, a firearm in such a manner that the device cannot be removed without
  24
        disassembly of the firearm action.” Penal Code § 30515(b). Generally,
  25
        ammunition is supplied to semiautomatic rifles by magazines, which hold a certain
  26
        number of rounds and can be either detachable or fixed to the firearm. A rifle that
  27
        lacks a fixed magazine allows the shooter to rapidly exchange a depleted magazine
  28
                                                      7
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    1   with a fully loaded one, enabling a shooter to fire a large number of rounds near-
    2   continuously. In the event of a public shooting, this may deprive an opportunity for
    3   law enforcement or the public to intervene to save lives.
    4         25.        As with the former federal assault weapons ban, California defines
    5   large-capacity magazines (LCMs) as any ammunition feeding device with the
    6   capacity to accept more than 10 rounds. Some LCMs can hold 20, 30, 50, 75 or
    7   100 rounds of ammunition at a time. Because semiautomatic, centerfire rifles that
    8   have fixed LCMs qualify as assault weapons under section 30515(a)(2), the
    9   features-based definition will not apply to a rifle that has a fixed magazine capable
  10    of holding no more than 10 rounds.
  11          26.        LCMs are often used in conjunction with assault weapons that lack a
  12    fixed magazine. California separately restricts the manufacture, sale, and
  13    importation of LCMs in Penal Code section 32310. In 2016, California amended
  14    the law to generally prohibit the possession of LCMs, but as of this writing, the
  15    possession restrictions have been enjoined. LCMs are also illegally sold to
  16    California residents or illegally imported from other states.
  17          27.        LCMs enable a shooter to fire many more rounds without having to
  18    reload, which, as with rifles that lack a fixed magazine discussed above, may
  19    reduce the frequency of pauses during shootings and further reduces opportunities
  20    for law enforcement or the public to intervene to save lives. A person intent on
  21    doing harm to the public or law enforcement will often pair assault weapons and
  22    multiple LCMs to maximize the lethality of their attacks. As discussed below,
  23    assault weapons with LCMs have been used in numerous mass shootings and gun
  24    violence against peace officers.
  25                4.     Prohibited Features
  26          28.        A “pistol grip that protrudes conspicuously beneath the action of the
  27    weapon” is “a grip that allows for a pistol style grasp in which the web of the
  28    trigger hand (between the thumb and index finger) can be placed beneath or below
                                                      8
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    1   the top of the exposed portion of the trigger while firing.” California Code of
    2   Regulations, title 11, § 5471. In my experience, this feature is the most prevalent
    3   feature of assault rifles prohibited under the AWCA. Pistol grips are used in most
    4   modern military machine guns and civilian semiautomatic rifle versions of these
    5   firearms. The designers of military-style firearms are including this feature more
    6   and more. A pistol grip on an assault rifle enhances the ergonomics of the weapon.
    7   A shooter using an assault rifle without a pistol grip may shoot less accurately with
    8   repeated—and especially rapid—shots if the shooter’s trigger hand is in an
    9   awkward position for a significant amount of time.
   10         29.    Mr. Kapelsohn claims in his declaration that a pistol grip is not
   11   necessary to prevent muzzle rise when firing a semiautomatic AR-15 platform rifle,
   12   suggesting that muzzle rise is only a problem for fully automatic fire. (Kapelsohn
   13   Decl. ¶ 28.) While this may be true for the firing of a single shot, it is generally not
   14   true when firing multiple shots in quick succession. When a semiautomatic rifle,
   15   like an AR-15, is fired rapidly, the rifle will generally exhibit muzzle rise, and a
   16   pistol grip would help the shooter maintain accurate fire when shooting rapidly.
   17   Furthermore, depending on the weapons system and the shooter’s skill level, the
   18   pistol grip may help a shooter complete magazine exchanges quicker. In addition, a
   19   pistol grip may help a shooter maintain aim on a target while reloading, and perhaps
   20   even fire a chambered round while reloading.
   21
   22
   23
   24
   25
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   27
   28
                                                   9
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    1         30.    A “thumbhole stock” is “a stock with a hole that allows the thumb of
    2   the trigger hand to penetrate into or through the stock while firing.” California
    3   Code of Regulations, title 1, § 5471(qq). It allows for a grip similar to that offered
    4   by a pistol grip and can provide similar benefits to a shooter firing a rifle rapidly.
    5   Below is a photograph showing a thumbhole stock on a rifle.
    6
    7
    8
    9
   10
   11         31.    A “telescoping stock” is “a stock which is shortened or lengthened by
   12   allowing one section to telescope into another portion.” California Code of
   13   Regulations, title 11, § 5471(oo). On AR-15 style firearms, the buffer tube or
   14   receiver extension acts as the fixed part of the stock on which the telescoping butt
   15   stock slides or telescopes. A “folding stock” is “a stock which is hinged in some
   16   fashion to the receiver to allow the stock to be folded next to the receiver to reduce
   17   the overall length of the firearm.” California Code of Regulations, title 11, §
   18   5471(nn). A folding stock or telescoping stock that still allows the shooter to fire
   19   the rifle while the stock is folded or shortened and would likely provide a shooter
   20   with a tactical advantage because it is more versatile.
   21         32.    The tactical advantage provided by a telescoping or folding stock
   22   include decreased overall length of the rifle by the shooter if desired for
   23   concealability. This feature is beneficial for law enforcement purposes. For
   24   example, when law enforcement personnel conduct room to room searches of a
   25   building, they would not want to give away their locations. More compact weapons
   26   with folding or telescoping stocks may maintain the advantage of surprise.
   27   Semiautomatic weapons deployed by law enforcement with extremely long overall
   28   lengths may be seen by antagonists who mean to do harm to law enforcement.
                                                   10
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    1   Telescoping or folding stocks also allow for easier transportation and storage of the
    2   weapon and to more quickly allow the user to adjust the weapon for a better fit, but
    3   these are secondary considerations, particularly in the civilian context.
    4         33.    Subjects intent on shooting one or more persons may have a tactical
    5   advantage by using a weapon with a shorter overall length. This tactical advantage
    6   described above for law enforcement can also be used by a shooter wishing to
    7   remain undetected for as long as possible. A weapon with a shorter overall length
    8   could also permit the shooter to smuggle the weapon undetected (by, for example,
    9   hiding the weapon in a backpack or bag) or to hide in the crowd without
   10   telegraphing the shooter’s location. A smaller weapon can also be concealed on the
   11   shooter’s person underneath loose or bulky clothing.
   12         34.    A “grenade launcher” is “a device capable of launching a grenade,”
   13   which are classified under federal law as destructive devices. California Code of
   14   Regulations, title 11, § 5471(v). There is no conceivable civilian need for a grenade
   15   launcher.
   16         35.    A “flare launcher” is “a device used to launch signal flares,” California
   17   Code of Regulations, title 11, § 5471(q), which can be used in emergency situations
   18   or in military operations. While flares may serve legitimate safety and rescue
   19   purposes in certain circumstances, for example on ships in open water, I can think
   20   of no legitimate reason for a civilian to launch flares from a rifle.
   21         36.    A “flash suppressor” is “any device attached to the end of the barrel,
   22   that is designed, intended, or functions to perceptibly reduce or redirect muzzle
   23   flash from the shooter’s field of vision. A hybrid device that has either advertised
   24   flash suppressing properties or functionally has flash suppressing properties would
   25   be considered a flash suppressor. A device labeled or identified by its manufacturer
   26   as a flash hider would also be considered a flash suppressor.” California Code of
   27   Regulation, title 11, § 5471(r).
   28
                                                   11
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    1         37.    Most everyone has experienced a flash from a camera in our lifetimes.
    2   This camera flash can cause vision problems for people viewing the flash. A
    3   firearm, in low light conditions may produce muzzle flash with each round fired.
    4   The muzzle flash may create vision problems for the shooter, which may cause the
    5   shooter to shoot less accurately. Two rifles, one with a flash suppressor and one
    6   without, shooting the same ammunition with the same length barrels should
    7   perform differently in terms of reducing the amount of flash created. The rifle with
    8   the flash suppressor should be easier to shoot in low light conditions because the
    9   shooter should have less problems aiming accurately. Additionally, a flash
   10   suppressor can help conceal the location of a shooter in low light conditions.
   11   Mr. Kapelsohn claims that flash concealment is primarily for military purposes.
   12   (Kapelsohn Decl. ¶ 33.) But a shooter intent on shooting people in public at night
   13   could take advantage of this effect and frustrate law enforcement efforts to stop the
   14   shooting.
   15         38.    A “forward pistol grip” is a grip that allows for a pistol-style grasp
   16   forward of the trigger. Many modern military machine guns, submachine guns and
   17   assault rifles worldwide have built-in forward pistol grips or locations that allow for
   18   forward pistol grips to be attached. This feature can aid the shooter by offering an
   19   optional grip location on the rifle for the shooter’s non-trigger hand to stabilize the
   20   weapon during repeated semiautomatic fire.
   21         39.    Overall, in my experience, the challenged features described in Penal
   22   Code section 30515(a)(1), individually and especially when combined with other
   23   listed features, may assist shooters in being more effective and efficient while
   24   rapidly firing semiautomatic, centerfire rifles. They are not merely “cosmetic” as
   25   suggested by Mr. Kapelsohn. (Kapelsohn Decl. ¶ 38.) (And if they were merely
   26   cosmetic, the plaintiffs would have no need for the features to engage in effective
   27   self-defense.)
   28
                                                   12
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    1          40.        I have observed the videotaped demonstration of one of the Plaintiffs’
    2   declarants, Adam Kraut, which purports to show that a “featureless” rifle fires as
    3   rapidly and accurately as—or, according to the demonstration, more accurately
    4   than—a rifle with certain prohibited features. This demonstration, however, was
    5   not performed under controlled circumstances, does not indicate how many
    6   repeated “takes” were filmed to obtain the results, and does not account for other
    7   tactical advantages that may be gained from some of the features, such as enhanced
    8   concealment from flash suppressors or adjustable stocks. In my experience, assault
    9   rifles with one or more of the prohibited features will shoot more accurately when
   10   fired rapidly. And as discussed below, many mass murders choose to use assault
   11   rifles to carry out their attacks.
   12                5.     Additional Assault Rifles
   13          41.        Penal Code section 30515(a)(2) also defines an “assault weapon” as a
   14   “semiautomatic, centerfire rifle that has a fixed magazine with the capacity to
   15   accept more than 10 rounds”—in other words, a semiautomatic, centerfire rifle with
   16   a fixed LCM. As discussed previously, LCMs enable a shooter to fire more rounds
   17   in a given period of time, by reducing the frequency by which the shooter needs to
   18   reload the firearm. LCMs are used frequently in mass shootings, such as the 2015
   19   shooting in San Bernardino or the 2018 shooting in Thousand Oaks. LCMs can
   20   also enable criminals to engage in sustained firefights with law enforcement
   21   personnel, causing more deaths and injuries, such as the 1997 bank robbery in
   22   North Hollywood.
   23          42.        Detachable large-capacity magazines have been used in numerous
   24   mass shootings, such as the 1989 shooting at Cleveland Elementary School in
   25   Stockton, California, which prompted the enactment of the original AWCA.
   26   Generally, a rifle equipped with a fixed 30-round LCM would have the capability
   27   of firing more rounds in a given period of time than an identical rifle with a fixed
   28   10-round magazine because it would hold more rounds and would need to be
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    1   reloaded less frequently. In other words, a shooter firing a semiautomatic rifle
    2   would conceivably be able to fire for a longer period of time before exhausting his
    3   or her ammunition and having to reload a LCM than for a 10-round magazine. And
    4   even fixed magazines can be reloaded quickly—almost as quickly as a detachable
    5   magazine—when a rifle is assembled or modified in a way that allows for the rapid
    6   separation and reconnection of the lower and upper receivers. Thus, a “fixed” LCM
    7   may not prevent the rapid reloading of a rifle, which would produce the same
    8   public-safety threats posed by detachable LCMs.
    9         43.        Penal Code section 30515(a)(3) also defines an assault weapon as a
   10   “semiautomatic, centerfire rifle that has an overall length of less than 30 inches.”
   11   According to California Code of Regulations, title 11, section 5471(x), the length of
   12   the rifle is measured in the shortest possible configuration in which the weapon will
   13   function or fire. A shorter rifle is more concealable. As with the adjustable stocks
   14   discussed above, the enhanced concealability of a rifle raises significant public
   15   safety concerns.
   16               6.     The Suitability of Assault Rifles for Military and Law
                           Enforcement Uses
   17
              44.        Semiautomatic rifles that qualify as assault weapons are generally
   18
        modeled after successful military machine guns and submachine guns. Generally,
   19
        rifles currently deemed to be assault weapons under California law have had a
   20
        similar version issued to a military or police force somewhere in the world. For
   21
        example, the AR-15 is the civilian version of the military M-16. The main
   22
        difference between those military-issue firearms and firearms deemed to be assault
   23
        weapons under California law is that assault weapons are semiautomatic. In some
   24
        cases, military or police forces might issue semiautomatic rifles that are
   25
        functionally the same as defined California assault weapons in terms of “rate of
   26
        fire” or “capacity for firepower.”
   27
   28
                                                     14
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    1         45.    The photo below depicts a Sturm Ruger, Mini-14/Ranch Rifle with no
    2   prohibited features listed in Penal Code section 30515. It is a semiautomatic center
    3   fire rifle that is not an assault weapon. It is effectively “featureless” in terms of
    4   Penal code section 30515. These types of rifles are currently legal for sale in
    5   California and can be lawfully transferred and possessed by California residents
    6   who follow state and federal laws. It has a traditional wooden stock, no pistol grip
    7   and no muzzle device:
    8
    9
   10
   11
   12
   13         46.    The semiautomatic centerfire rifle depicted below is a Sturm Ruger,

   14   Mini-14/Ranch Rifle with a folding stock, pistol grip and flash suppressor on the

   15   end of the barrel. These types of rifles are currently not legal for sale in California

   16   and cannot be lawfully transferred by California residents.

   17
   18
   19
   20
   21
   22
   23         47.       Rifles that qualify as assault weapons under Penal Code Section

   24   30510, typically will have one or more features that are listed in Penal Code Section

   25   30515 (pistol grip, etc.). One or more of these features are also seen in many if not

   26   most of the firearms depicted in the Assault Weapon Identification Guide.

   27         48.    As noted by Mr. Kapelsohn, assault rifles have reportedly been used

   28   by law-abiding individuals for self-defense. (Kapelsohn Decl. ¶¶ 19-24.) That
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    1   does not mean, however, that those rifles were particularly suitable for self-defense
    2   or that a different firearm would have been less effective. Any weapon, even a
    3   fully automatic machine gun or a grenade launcher, could conceivably be used for
    4   self-defense. But machine guns and grenade launchers are not particularly suitable
    5   for civilian self-defense applications.
    6         49.    Nevertheless, assault rifles are suitable for law enforcement use.
    7   There are many instances in which law enforcement and civilians have been hurt
    8   and killed by criminals using assault weapons. Law enforcement personnel need to
    9   have equal or better weapons than those subjects they are confronting—commonly
   10   referred to as a “force multiplier”—so that they are not outgunned by criminals with
   11   assault weapons.
   12         50.    And unlike civilians, law enforcement personnel are often required to
   13   enter into dangerous situations to take a shooter into custody. Law enforcement
   14   personnel must often affirmatively put themselves in dangerous situations to subdue
   15   shooters or other criminal suspects or to protect civilians.
   16         51.    Law enforcement personnel undergo regular, specialized training to
   17   safely and effectively use assault weapons. Each round fired by law enforcement
   18   personnel has the potential to cause criminal and/or civil ramifications for
   19   individuals employed in this field and their agency they work for. We are trained to
   20   consider the backdrop (area behind whatever is being aimed at) to make sure
   21   persons or property are not needlessly injured or damaged. Law enforcement
   22   agencies commonly require peace officers to maintain regular qualification with
   23   duty firearms. These qualifications can sometimes include varied distances from
   24   the officer to the target, partially concealed targets, and scenarios in which the best
   25   option available to the officer is to not shoot the target (“shoot/don’t shoot”
   26   scenarios). Verbal commands and less lethal options are among the options
   27   employed by law enforcement in conjunction with potentially lethal force.
   28
                                                   16
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    1        B.     Assault Pistols (Section 30515(a)(4)-(5))
    2         52.     California Penal Code section 30515(a)(4) defines any semiautomatic
    3   pistol as an assault weapon if it does not have a fixed magazine and has any one (or
    4   more) of the following features: (1) a threaded barrel capable of accepting a flash
    5   suppressor, a (second) forward hand grip, or a silencer, (2) a second handgrip, (3) a
    6   barrel shroud, and (4) the ability to accept a detachable magazine at some location
    7   other than the pistol grip beneath the action. The Assault Weapon Identification
    8   Guide provides some examples of assault pistols on pages 40 through 48.
    9         53.     A threaded barrel has grooves on the outside of the barrel that allow
   10   any of the listed features to be “screwed” onto the front of the pistol. In addition to
   11   a threaded barrel, a “lugged barrel” has lugs at the end of the barrel, which can
   12   allow a silencer to be easily attached. California regulates lugged barrels as
   13   threaded barrels. (Section 5471(rr).) A threaded barrel would make it relatively
   14   easy for a shooter to attach one of the listed features to the weapon quickly, making
   15   the weapon more deadly. As I previously discussed in connection with the rifle
   16   features, a flash suppressor can help a shooter maintain accurate fire while firing
   17   the weapon rapidly in low light settings, and a second, forward pistol grip can help
   18   stabilize a firearm during repeated semiautomatic fire. A silencer can help a
   19   shooter avoid detection while firing the weapon. During the May 31, 2019 mass
   20   shooting in Virginia Beach, Virginia, for example, the shooter used a silencer in an
   21   incident that claimed 12 lives and injured 4 others.
   22         54.     A semiautomatic pistol with a second handgrip—for example a
   23   forward pistol grip—can help a shooter maintain rapid fire during a shooting by
   24   counteracting muzzle rise. And a barrel shroud can enable a shooter to hold onto
   25   the barrel while shooting rapidly without burning the non-shooting hand, which can
   26   help with accurate rapid fire in a similar way to a forward handgrip.
   27         55.     A pistol that has the ability to accept a detachable magazine at a
   28   different location than the pistol grip, such as the Bushmaster pistol depicted on
                                                  17
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    1   page 40 of the Assault Weapons Identification Guide, is indicative of military
    2   firearms and is not commonly seen on most civilian handguns. Semiautomatic
    3   pistols that accept a detachable magazine allow for reloading inside the pistol grip.
    4         56.     Finally, California Penal Code section 30515(a)(5) defines a
    5   semiautomatic pistol as an assault weapon if it has a fixed LCM. As I discussed
    6   earlier in connection with rifles, a pistol with a fixed LCM would enable a shooter
    7   to fire more rounds in a given period than an identical pistol with a fixed 10-round
    8   magazine, because the pistol would hold more ammunition and would need to be
    9   reloaded less frequently. A LCM would permit a shooter firing a semiautomatic
   10   pistol to fire for a longer period of time before exhausting his or her ammunition
   11   and having to reload compared to a 10-round magazine.
   12         57.     In my experience, semiautomatic pistols that qualify as assault
   13   weapons are not commonly owned by civilians. They have, however, been used for
   14   criminal purposes. One of the shooters in the Columbine mass shooting, for
   15   example, used an Intratec TEC-9 assault pistol, which is depicted on page 43 of the
   16   Assault Weapons Identification Guide.
   17        C.     Assault Shotguns (Section 30515(a)(6)-(8))
   18         58.     The California Penal Code defines a shotgun to mean “a weapon
   19   designed or redesigned, made or remade, and intended to be fired from the shoulder
   20   and designed or redesigned and made or remade to use the energy of the explosive
   21   in a fixed shotgun shell to fire through a smooth bore either a number of projectiles
   22   (ball shot) or a single projectile for each pull of the trigger.” Penal Code § 17190.
   23   Penal Code section 30515(a)(7) and (8) define shotguns as assault weapons if they
   24   have certain features or characteristics. In addition to birdshot, a shotgun can fire
   25   shells containing more lethal buckshot or metal slugs that can cause significant
   26   damage at short and long ranges.
   27         59.     California Penal Code section 30515(a)(6) defines a semiautomatic
   28   shotgun as an assault weapons if it has both an adjustable stock (either folding or
                                                  18
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    1   telescoping) and a pistol grip that protrudes conspicuously beneath the action of the
    2   shotgun, a thumbhole stock, or a vertical handgrip. As with rifles, an adjustable
    3   stock can enhance the concealability of a shotgun, which can help a shooter
    4   smuggle the weapon into a sensitive place to engage in crime, such as a shooting or
    5   a robbery. A vertical handgrip can enable a shooter to accurately fire multiple
    6   shotgun rounds rapidly. Examples of assault shotguns are depicted on pages 50
    7   through 53 of the Assault Weapons Identification Guide. Each of the depicted
    8   shotguns has a pistol grip beneath the action of the firearm.
    9          60.   California Penal Code section 30515(a)(7) defines a semiautomatic
   10   shotgun as an assault weapon if it can accept a detachable magazine. Typically,
   11   shotguns must be reloaded manually by inserting the shells individually into the
   12   firearm. Detachable magazines, by contrast, enable a shooter to reload a shotgun
   13   rapidly, allowing the shooter to fire more shells in a given period.
   14          61.   Finally, California Penal Code section 30515(a)(8) defines a shotgun
   15   as an assault weapon if it has a revolving cylinder to feed ammunition into the
   16   firearm. This includes the “Streetsweeper,” depicted on page 52 of the Assault
   17   Weapons Identification Guide, and the “Striker-12,” on page 53 of the guide.
   18   Generally, a revolving cylinder can enable a shotgun to hold more shells and
   19   enables a shooter to fire those rounds without having to reload as often as a shotgun
   20   without a revolving cylinder.
   21          62.   In my experience, shotguns that qualify as assault weapons are not
   22   commonly owned or used by civilians.
   23   II.   USE OF ASSAULT WEAPONS IN MASS SHOOTINGS.
   24          63.   I am familiar with the use of assault weapons by subjects intending to
   25   do harm to civilians and law enforcement.
   26          64.   Often assault weapons are paired with LCMs during these crimes by
   27   the suspects. LCMs are ammunition feeding devices that can hold more than ten
   28   rounds, and sometimes up to 100 rounds, of ammunition.
                                                  19
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    1         65.    Semiautomatic assault weapons when loaded with LCMs enable a
    2   shooter to potentially fire more than 10 rounds without the need for the shooter to
    3   reload the weapon.
    4         66.    Because LCMs enable a shooter to fire repeatedly without needing to
    5   reload every 10 rounds, they significantly increase a shooter’s ability to kill and
    6   injure large numbers of people quickly.
    7         67.    Assault weapons have been a popular weapon used in several mass
    8   shootings in California and elsewhere.
    9         68.    Based on my research, all of the shootings listed below involved
   10   persons who shot and wounded and/or killed one or more persons, including peace
   11   officers, while using assault weapons.
   12         a.       On July 18, 1984, an individual used a semiautomatic UZI and a
   13                  Browning Hi-Point rifle to kill 21 people and injure 19 others at a
   14                  McDonald’s restaurant in San Ysidro, California.
   15         b.       On January 17, 1989, an individual shot and killed 5 and wounded 32
   16                  others at the Cleveland Elementary School in Stockton, California.
   17                  He used an AK-47 style rifle and LCMs in the shooting. The
   18                  Roberti-Roos Assault Weapon Control Act of 1989 was enacted
   19                  shortly after this shooting.
   20         c.       On April 20, 1999, 2 individuals used LCMs and an assault rifle and
   21                  an assault pistol (an Intratec TEC-9) to murder 13 individuals and
   22                  injure 24 others at Columbine High School in Littleton, Colorado.
   23         d.       On January 9, 2005, an individual used a LCM and illegal assault
   24                  weapon to shoot and kill Ceres Police Sgt. Howard Stevenson in
   25                  Ceres, California.
   26         e.       On June 15, 2008, an individual used an assault rifle and LCM to
   27                  shoot and kill Yolo County Sheriff’s Deputy Tony Diaz after a
   28                  traffic stop near Dunnigan, California.
                                                  20
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    1         f.     On February 25, 2010, an individual used multiple weapons
    2                (including an assault weapon) and LCMs to shoot and kill Fresno
    3                County Sheriff’s Detective Joel Wahlenmaier and Reedley Police
    4                Officer Javier Bejar in Minkler, California.
    5         g.     On July 20, 2012, an individual used an assault weapon and LCMs,
    6                including a drum magazine, to kill 12 people and wound 70 others in
    7                a movie theater in Aurora, Colorado.
    8         h.     On December 14, 2012, an individual used LCMs and multiple
    9                firearms (including an assault weapon) to kill 20 children and 6
   10                adults at Sandy Hook Elementary School in Newtown, Connecticut.
   11         i.     On June 7, 2013, an individual —who was previously denied
   12                purchase of a firearm by the California Department of Justice—used
   13                a home-built AR-15 rifle and LCMs to kill his father and brother at
   14                their family home, and then kill 3 and wound 4 others at the Santa
   15                Monica, California Community College.
   16         j.     On December 2, 2015, two individuals used assault weapons and
   17                LCMs in killing 14 people and wounding 22 others at the Inland
   18                Regional Center in San Bernardino, California.
   19         k.     On June 12, 2016, an individual used an assault rifle and LCMs to
   20                shoot and kill 49 people and wound 53 others inside a nightclub in
   21                Orlando, Florida.
   22         l.     On July 7, 2016, an individual used an assault rifle and a LCM to
   23                shoot and kill 5 police officers and wound 9 others in Dallas, Texas.
   24         m.     On July 17, 2016, an individual used an assault rifle and LCMs to
   25                shoot and kill 3 police officers and wound 3 other officers in Baton
   26                Rouge, Louisiana.
   27         n.     On October 1, 2017, an individual used assault rifles and LCMs to
   28                fire over 1,000 rounds on concertgoers at an outdoor music festival
                                               21
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    1                in Las Vegas, Nevada, killing 58 people and wounding more than
    2                500 others. To date, this is the deadliest mass shooting in U.S.
    3                history.
    4         o.     On October 3, 2018, an individual used an assault rifle in Florence,
    5                South Carolina to shoot and kill 2 law enforcement officers. Another
    6                6 officers were also shot.
    7         p.     On October 27, 2018, an individual used an assault rifle with LCMs
    8                to kill 11 individuals and injure 6 others at the Tree of Life
    9                synagogue in in Pittsburg, Pennsylvania.
   10         q.     On June 19, 2019, Sacramento Police Officer Tara O’Sullivan was
   11                killed by a suspect who shot her with an assault rifle while
   12                responding to a domestic disturbance.
   13         r.     On July 28, 2019, an individual used an AK-47 style rifle with
   14                LCMs, which were purchased in Nevada weeks earlier, to kill 3
   15                people and injure 12 others at the Gilroy Garlic Festival in Gilroy,
   16                California.
   17         s.     On August 3, 2019, an individual used an assault rifle with LCMs to
   18                kill 22 people and injure 26 others at a Walmart in El Paso, Texas.
   19         t.     Shortly after the El Paso shooting, on August 4, 2019, an individual
   20                used an assault pistol with a 100 round drum magazine to kill 9 and
   21                injure 27 others in Dayton, Ohio.
   22         u.     On August 31, 2019, an individual used an assault rifle with LCMs to
   23                engage in a shooting spree, including a firefight with law
   24                enforcement officers, in Odessa and Midland, Texas.
   25         v.     On December 10, 2019, two individuals used assault rifles and LCMs
   26                to kill 4 people and injure 3 others in Jersey City, New Jersey. One
   27                of the dead was Jersey City Police Detective Joseph Seals. The
   28                shooters engaged in a lengthy firefight with law enforcement
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    1                  personnel at a kosher grocery market and 3 law enforcement
    2                  personnel were injured as a result.
    3         69.    Assault weapons have also been used in other countries to devastating
    4   effect. On April 28, 1996, in Port Arthur, Tasmania, an individual used an AR-15
    5   rifle to murder 35 people and injure 23 others in a shooting spree that prompted the
    6   government to enact restrictions on semiautomatic rifles, including a mandatory
    7   buy-back program. And on March 15, 2019, an individual used several firearms,
    8   including an AR-15 platform rifle, to murder 51 people and injure 49 others at two
    9   mosques in Christchurch, New Zealand. After the Christchurch shootings, New
   10   Zealand enacted a ban on semiautomatic firearms and magazines.
   11         70.    Assault weapons have been used in gun violence against the public and
   12   law enforcement, in California, in other states, and abroad. While California’s
   13   restrictions on assault weapons cannot be expected to stop all gun violence or
   14   prevent all mass shootings, it is my opinion that they have contributed positively to
   15   the safety of the public and law enforcement personnel.
   16         71.    It is my opinion that the AWCA enhances public safety by limiting
   17   civilian access to prohibited weapons that are unreasonably dangerous for
   18   unrestricted civilian use and are often used by those who intend on committing
   19   crimes, such as mass shootings.
   20   III. AN INJUNCTION WOULD DISRUPT ENFORCEMENT OF CALIFORNIA’
             FIREARMS LAWS BEYOND THE CHALLENGED LAWS AND WOULD
   21        REQUIRE TIME TO IMPLEMENT
   22         72.    If enforcement of the challenged provisions of the AWCA is enjoined,
   23   it would likely disrupt the State’s ability to enforce the existing scheme of firearms
   24   laws, beyond the challenged provisions themselves, and could potentially cause
   25   irreversible harm.
   26         73.    As I stated above, there have been numerous mass shootings in
   27   California where the shooter had used assault weapons. The AWCA seeks to
   28   reduce the number of these firearms in circulation in the state. If the challenged
                                                   23
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    1   provisions of the AWCA are enjoined, even if the injunction is later reversed, the
    2   state would be left with many more of these firearms than before the injunction.
    3         74.    An injunction would also disrupt enforcement of other laws.
    4   California law requires all lawfully possessed assault weapons acquired before
    5   December 31, 2016 to be registered with the California Department of Justice.
    6   Penal Code § 30900. The most recent registration period ended on July 1, 2018.
    7   Penal Code § 30900(b)(1). Therefore, if a law enforcement officer encounters an
    8   assault weapon in the field, and, upon checking the Automated Firearms System,
    9   determines that the firearm is not registered, the officer would deem that firearm to
   10   be illegally possessed and take appropriate action.
   11         75.    However, if the challenged provisions of the AWCA are enjoined,
   12   residents of California would be permitted to acquire and possess new assault
   13   weapons. If a law enforcement officer encounters an unregistered assault weapon
   14   in the field, the officer may have difficulty determining whether the firearm is new
   15   and outside the existing registration requirement, and therefore potentially legally
   16   possessed, or whether it was a firearm that should have been registered previously
   17   (for example, a self-manufactured assault weapon built during the registration
   18   window or an assault rifle acquired prior to 2014 that is not in the AFS) and the
   19   owner had violated the registration laws.
   20         76.    If the challenged provisions of the AWCA is enjoined, it would also
   21   impose administrative burdens on law enforcement agencies at multiple levels and
   22   the injunction that would require time to be implemented. Law enforcement
   23   agencies statewide have been enforcing the AWCA for decades. If an injunction is
   24   issued, all law enforcement agencies in the state would have to be informed of the
   25   injunction, the scope of the injunction, and how an injunction might affect their
   26   duties despite the AWCA still being on the books.
   27         77.    If law enforcement agencies are not properly informed of the
   28   injunction and the scope of the injunction, officers in the field may inadvertently
                                                    24
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                                EXHIBIT A
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                        California Attorney General




                      Assault Weapons
                    Identification Guide
         as listed or described in Penal Code Sections 12276, 12276.1, and 12276.5

                            (Includes selected recent legislation)
                               3rd EDITION - November 2001
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                                                    State of California
                                              Office of the Attorney General
                                                  Sacramento, California

The purpose of this guide is to assist peace officers, firearms dealers, and the general public in the identification of assault
weapons and to promote the better understanding of some of the more significant recently enacted legislation.

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Division website at www.ag.ca.gov/firearms/awguide/, or purchased from the Firearms Division for $2 per copy at the
address below.
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                       P.O. Box 820200
                       Sacramento, California 94203-0200


Questions or requests for assistance may be directed to:

                          Telephone:        (916) 227-3703
                          Fax:              (916) 227-3744


Training for law enforcement agencies and firearms dealers on the subject of assault weapons or any matter concerning
firearms or firearm law enforcement may be scheduled by calling (916) 263-0815.
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                                               INTRODUCTION

For the purposes of this guide, assault weapons are divided into three categories. These are: Category 1 - Penal
Code section 12276 subdivisions (a), (b), (c) (Roberti Roos Assault Weapons Control Act of 1989); Category 2
- Penal Code section 12276 subdivisions (e) and (f) (Kasler v. Lockyer, AK and AR-15 series assault weapons);
and Category 3 - Penal Code section 12276.1 (SB 23 - generic characteristic assault weapons). A combined
listing of Category 1 and Category 2 assault weapons can be found on page 82.

Category 1. The Roberti-Roos Assault Weapons Control Act of 1989
This was California’s first assault weapons act. Under this act, any firearm on a list specified in Penal Code
section 12276 is considered an assault weapon. Such assault weapons are controlled (i.e., may not be legally
purchased, kept for sale, offered for sale, exposed for sale, given, lent, manufactured, distributed, or imported)
after December 31, 1991, and were required to be registered as assault weapons with the Department of Justice
on or before March 31, 1992. In addition, the Roberti-Roos Assault Weapons Control Act controlled AK and
AR-15 series assault weapons (Penal Code section 12276, subd (e) and (f) - see Category 2). These assault
weapons are controlled regardless of whether they have Category 3 (Penal Code section 12276.1 - SB 23)
characteristics. The only legal option for Category 1 assault weapons that were not registered on or before
March 31, 1992, is to surrender them to law enforcement pursuant to Penal Code section 12288.

Category 2. AK and AR-15 Series Weapons
The California Supreme Court upheld the constitutionality of the Roberti-Roos Assault Weapons Control Act of
1989 in Kasler v. Lockyer. This decision took effect August 16, 2000. Effective August 16, 2000, firearm
models that are variations of the AK or AR-15, with only minor differences from those two models, are assault
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weapons under the original Roberti-Roos Assault Weapons Control Act of 1989. AK and AR-15 series weap-
ons were controlled as of August 16, 2000, and must have been registered as assault weapons with the Depart-
ment of Justice on or before January 23, 2001. The only legal option for Category 2 assault weapons that were
not registered on or before January 23, 2001, is to surrender them to law enforcement pursuant to Penal Code
section 12288. These assault weapons are controlled regardless of whether they have Category 3 (Penal Code
section 12276.1 - SB 23) characteristics.

Category 3. Generic Characteristics
As of January 1, 2000, Senate Bill 23 (Chapter 129, Statutes of 1999) provided that firearms that have charac-
teristics falling under any of the categories listed in Penal Code section 12276.1 are assault weapons. These
assault weapons were controlled as of January 1, 2000, and must have been registered as assault weapons with
the Department of Justice on or before December 31, 2000. However, a person arrested for possession of an
unregistered Category 3 assault weapon on or before December 31, 2001 could have registered it under condi-
tions specified in Penal Code section 12280(c) pursuant to reducing the charge to an infraction. On and after
January 1, 2002, the only legal option for Category 3 assault weapons that are not registered is to surrender
them to law enforcement pursuant to Penal Code section 12288. An exception for peace officers is addressed
on the next page.

Punishment
 • Possession – Felony or misdemeanor -- (Penal Code § 12280(b))
                Infraction under limited time and conditions -- (Penal Code § 12280(c))
 • Manufacture, distribution, transportation, importation, sale, and transfer of assault weapons -- Felony.
  (Penal Code § 12280(a))
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PEACE OFFICER EXEMPTION EFFECTIVE JANUARY 1, 2002
Effective January 1, 2002, a peace officer member of a police department, sheriffs’ office, or other law enforce-
ment agency specified in Penal Code section 12280(f) who possesses or receives an assault weapon prior to
January 1, 2002, may, with the authorization of his or her agency head, retain and personally possess that
firearm provided he or she registers it as an assault weapon with the Department of Justice on or before April 1,
2002. Any such-identified peace officer may also, with the authorization of his or her agency head, purchase or
receive an assault weapon on or after January 1, 2002, provided he or she registers it as an assault weapon with
the Department of Justice within 90 days of receipt. Agency authorization must be in the form of verifiable
written certification from the head of the agency identifying the recipient or possesor of the assault weapon as a
peace officer and authorizing him or her to receive or possess the specific assault weapon. The peace officer
must include a copy of this authorization with the assault weapon registration. Assault weapon registration
forms may be obtained from the Department of Justice by calling (916) 227-3694.

CONFIRMATION OF REGISTRATION (Law Enforcement Agencies Only)
A law enforcement agency may verify an assault weapon registration by consulting the Automated Firearms
System (AFS), which is accessible through the California Law Enforcement Telecommunications System
(CLETS). Each AFS assault weapon record includes the date of registration, information identifying the regis-
trant, and information identifying the weapon. Please note that the assault weapon registrant is not required to
be in possession of his or her registration documentation.
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* Statute spelling of “Steyer” is incorrect.
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                                Category 1.
    Penal Code Section 12276, subdivisions (a)-(c)
           Roberti-Roos Assault Weapons
1




               Control Act of 1989


                                            1
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                                                            2

    CATEGORY 1

    The Roberti-Roos Assault Weapons Control Act of 1989

    The Roberti-Roos Assault Weapons Control Act of 1989 was California’s first assault weapons act. The Act is
    still in effect and specifically identifies assault weapons by make and model. Assault weapons under this act
    include those firearms that are marked as specified in Penal Code section 12276, as well as those makes and
    models specified by the Attorney General pursuant to Penal Code section 12276.5. As of October 2001, the
    Attorney General has not utilized the add-on provisions of Penal Code section 12276.5 subdivisions (a)-(f).

    Except as otherwise noted, firearms described in this publication have been physically identified as assault
2




    weapons by their markings. Those markings generally, but not always, include both the name or trademark of
    the manufacturer and the model name or number of the firearm. Each description includes identification mark-
    ings and an indication of where those markings, if any, are found on the firearm.

    Caution must be used in identifying Roberti-Roos assault weapons because of the ease in which their appear-
    ance may be altered with attachments or different types of stocks; however, removing a characteristic does not
    change a firearm’s status as a a Category 1 assault weapon. A firearm specified in Penal Code section 12276 by
    make and model is a controlled assault weapon even if it is not identical to its picture in this publication. If in
    doubt about the identity of a particular firearm, or if identifying marks have been removed or altered, please
    consult the Department of Justice Firearms Division at (916) 263-4887.
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    CHAPTER 2.3. ROBERTI-ROOS ASSAULT WEAP-                             and Sporter.
           ONS CONTROL ACT OF 1989                               (8) MAS 223.
                     LISTING                                     (9) HK-91, HK-93, HK-94, HK-PSG-1.
                                                                 (10) The following MAC types:
    The ACT provides in part:                                         (A)RPB Industries Inc. sM10 and sM11.
                                                                      (B) SWD Incorporated M11.
    12276. As used in this chapter, “assault weapon” shall       (11) SKS with detachable magazine.
    mean the following designated semiautomatic firearms:        (12) SIG AMT, PE-57, SG 550, and SG 551.
                                                                 (13) Springfield Armory BM59 and SAR-48.
     (a) All of the following specified rifles:                  (14) Sterling MK-6.
     (1) All AK series including, but not limited to, the        (15) Steyer AUG.
            models identified as follows:                        (16) Valmet M62S, M71S, and M78S.
                                                                 (17) Armalite AR-180.
3




          (A)Made in China AK, AKM, AKS, AK47,
            AK47S, 56, 56S, 84S, and 86S.                        (18) Bushmaster Assault Rifle.
          (B) Norinco 56, 56S, 84S, and 86S.                     (19) Calico M-900.
          (C) Poly Technologies AKS and AK47.                    (20) J&R ENG M-68.
          (D)MAADI AK47 and ARM.                                 (21) Weaver Arms Nighthawk.
     (2) UZI and Galil.
     (3) Beretta AR-70.                                          (b) All of the following specified pistols:
     (4) CETME Sporter.                                          (1) UZI.
     (5) Colt AR-15 series.                                      (2) Encom MP-9 and MP-45.
     (6) Daewoo K-1, K-2, Max 1, Max 2, AR 100, and AR           (3) The following MAC types:
            110C.                                                     (A)RPB Industries Inc. sM10 and sM11.
     (7) Fabrique Nationale FAL, LAR, FNC, 308 Match,                 (B) SWD Incorporated M-11.

                                                             3
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                                                            4

          (C) Advance Armament Inc. M-11.                       (f) This section is declaratory of existing law, as
          (D)Military Armament Corp. Ingram M-11.                      amended, and a clarification of the law and the
    (4)   Intratec TEC-9.                                              Legislature’s intent, which bans the weapons
    (5)   Sites Spectre.                                               enumerated in this section, the weapons in-
    (6)   Sterling MK-7.                                               cluded in the list promulgated by the Attorney
    (7)   Calico M-950.                                                General pursuant to Section 12276.5, and any
    (8)   Bushmaster Pistol.                                           other models which are only variations of those
                                                                       weapons with minor differences, regardless of
    (c)   All of the following specified shotguns:                     the manufacturer. The Legislature has defined
    (1)   Franchi SPAS 12 and LAW 12.                                  assault weapons as the types, series, and models
    (2)   Striker 12.                                                  listed in this section because it was the most
    (3)   The Streetsweeper type S/S Inc. SS/12.                       effective way to identify and restrict a specific
4




                                                                       class of semiautomatic weapons.
    (d) Any firearm declared by the court pursuant to
         Section 12276.5 to be an assault weapon that is
         specified as an assault weapon in a list promul-
         gated pursuant to Section 12276.5.

    (e) The term “series” includes all other models that
          are only variations with minor differences, of
          those models listed in subdivision (a), regard-
          less of the manufacturer.
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                                     RIFLES
5




                                            5
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    AK Series                                    6
                                                                                 12276(a)(1)




                                                                                                    AK Series
6




      MANUFACTURER: various
      MARKINGS: AK, AKM, AKS, AK47, AK47S, 56, 56S, 86S. Also See Category 2.

      Comments: The firearm pictured represents the general appearance of the AK series; however,
                these firearms may be found in various configurations.
7    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3651 Page 44 of 127




                                                                                                        Norinco 86S
       MANUFACTURER: Chinese Government
       MARKINGS: 86S located on left side of receiver near the rear. Also See Category 2.

       Comments: The firearm pictured here is included in the AK series and was originally identified
                 by the Department of Justice as an assault weapon because the internal operation
                 is similar to other AK type firearms.

    Norinco 86S                                     7                                 12276(a)(2)
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    Colt AR-15 Series                            8                              12276(a)(5)




                                                                                                   Colt AR-15 Series
8




       MANUFACTURER: Colt

       MARKINGS: AR-15. Also See Category 2.
       Comments: The firearm pictured represents one general appearance of the Colt AR-15. These
                 firearms may be found in various configurations.
9    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3653 Page 46 of 127




                                                                                                Armalite AR-180
       MANUFACTURER: various manufacturers
       MARKINGS: Armalite AR-180 located on the right side of the receiver.
       Comments: Various other markings, including the name of manufacturer, are found on the
                 firearm, but they are not material to identifying it as an assault weapon.




    Armalite AR-180                              9                            12276(a)(17)
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     Beretta AR-70                                10                              12276(a)(3)




                                                                                                     Beretta AR-70
10




        MANUFACTURER: Pietro Beretta SPA
        MARKINGS: AR 70 on the left side of the receiver near the top.
        Comments: May be marked Mod 70S or Mod 70 Sport. However, only the mark AR 70 is essential
                  to identify the firearm as an assault weapon.
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                                                                                                Bushmaster Assault Rifle
11




        MANUFACTURER: Bushmaster Firearms
        MARKINGS: Bushmaster Assault Rifle located on the left side of the receiver above the
                  magazine.
        Comments: none




     Bushmaster Assault Rifle                    11                              12276(a)(18)
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     Calico M-900                                 12                          12276(a)(19)




                                                                                                   Calico M-900
12




        MANUFACTURER: Calico Light Weapons Systems
        MARKINGS: M-900 usually on the left side of the receiver.
        Comments: An unconventional spiral magazine may be located on the top of the receiver as
                  pictured here.
13    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3657 Page 50 of 127




                                                                                               CETME Sporter
        MANUFACTURER: Made in Spain
        MARKINGS: CETME “Sport” usually found on the left side of the magazine well.
        Comments: none




     CETME Sporter                               13                              12276(a)(4)
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     Daewoo K-1, Max 1, AR 110C                   14                               12276(a)(6)




                                                                                                       Daewoo K-1, Max 1, AR 110C
14




         MANUFACTURER: Daewoo Precision Industries Ltd.
         MARKINGS: K1, Max1, or AR110C usually located on the left side of the receiver on the
                      magazine well.
         Comments: Markings may include A1 and other designations, but these additional markings are
                   not material to identifying the firearm as an assault weapon.
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                                                                                                      Daewoo K-2, Max 2, AR 100
15




        MANUFACTURER: Daewoo Precision Industries Ltd.
        MARKINGS: K2, Max II or AR100 usually located on the left side of the receiver on the maga-
                  zine well.
        Comments: none



     Daewoo K-2, Max 2, AR 100                    15                                12276(a)(2)
       Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3660 Page 53 of 127




     Fabrique Nationale FAL, LAR, and 308 Match 16                                    12276(a)(7)




                                                                                                    Fabrique Nationale FAL, LAR, and 308 Match
16




          MANUFACTURER: FN Herstal SA (Fabrique Nationale Herstal)
          MARKINGS: FAL, LAR, or .308 Match usually located on the left side of the receiver.
          Comments: none
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                                                                                                    Fabrique Nationale FNC and Sporter
17




         MANUFACTURER: FN Herstal SA (Fabrique Nationale Herstal)
         MARKINGS: FNC or Sporter usually located near the top on the left side of the receiver.
         Comments: none




     Fabrique Nationale FNC and Sporter             17                                12276(a)(7)
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     Galil                                         18
                                                                                     12276(a)(2)




                                                                                                        Galil
18




        MANUFACTURER: IMI (Israel Military Industries)
        MARKINGS: GALIL usually found on the left side of the receiver above the pistol grip.
        Comments: Various other model markings located on the firearm are not material to identifying
                  it as an assault weapon.
19    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3663 Page 56 of 127




                                                                                                      HK-91 and HK-93
        MANUFACTURER: HK (Heckler and Koch GmbH)
        MARKINGS: HK91 or HK93 usually found on the left side of the receiver on the magazine well.
        Comments: The HK91 and HK93 appear substantially the same but are in different calibers.




     HK-91 and HK-93                             19                               12276(a)(9)
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     HK-94                                       20                        12276(a)(9)




                                                                                           HK-94
20




        MANUFACTURER: HK (Heckler and Koch GmbH)
        MARKINGS: HK94 usually found on the top of the receiver.
        Comments: none
21    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3665 Page 58 of 127




        MANUFACTURER: HK (Heckler and Koch GmbH)




                                                                                                      HK-PSG-1
        MARKINGS: The designation PSG-1 is located on the left side of the receiver on the magazine
                     well.
        Comments: none



     HK-PSG-1                                     21                                12276(a)(9)
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     J&R ENG M-68
                                                22                            12276(a)(20)




                                                                                             J&R ENG M-68
22




        MANUFACTURER: various manufacturers
        MARKINGS: J&R ENG. M68 located on the back end of the receiver above the stock.
        Comments: none
23    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3667 Page 60 of 127




        MANUFACTURER: RPB Industries Inc. or SWD Inc.
        MARKINGS: RPB Industries Inc. sM10 or sM11 are usually marked on the right side of the




                                                                                                           MAC Types
                  lower receiver. SWD Inc. M-11 is usually marked on the right side of the lower
                  receiver.
        Comments: The appearance of this type of assault weapon may vary because of the type of stock
                  or barrel attached, but those differences are not material to identifying the firearms
                  as an assault weapon.



     MAC Types                                      23                               12276(a)(10)
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     MAS 223                                     24                               12276(a)(8)




                                                                                              MAS 223
24




        MANUFACTURER: MAS (Manufacture Nationale d’Armes de St Etienne)
        MARKINGS: The designation MAS .223 appears on the right side of the receiver on the
                    magazine well.
        Comments: none
25    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3669 Page 62 of 127




        MANUFACTURER: Springfield Armory
        MARKINGS: S.A.R.- 48 is found on the left side of the receiver above the pistol grip.




                                                                                                SAR 48
        Comments: The bipod, which folds up under the barrel, is shown here extended.




     SAR 48                                         25                               12276(a)(13)
      Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3670 Page 63 of 127




     SIG AMT                                     26                           12276(a)(12)




                                                                                           SIG AMT
26




        MANUFACTURER: SIG (Swiss Industrial Company)
        MARKINGS: AMT usually found on top of the receiver near the barrel.
        Comments: none
27    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3671 Page 64 of 127




                                                                                           SIG PE-57
         MANUFACTURER: SIG (Swiss Industrial Company)
         MARKINGS: PE-57
         Comments: none




     SIG PE-57                                27                          12276(a)(12)
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     SG 550 and SG 551                            28                            12276(a)(12)




                                                                                                      SG 550 and SG 551
28




        MANUFACTURER: SIG (Swiss Industrial Company)
        MARKINGS: SG550 or SG551 usually found on the left side of the receiver above the
                     magazine well.
        Comments: These firearms have a similar appearance; however, the 550 is longer than the 551
                  model which is pictured here.
      Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3673 Page 66 of 127




                                                                                                       SKS with detachable magazine
29




        MANUFACTURER: Various
        MARKINGS: SKS usually found on the left side of the receiver.
        Comments: The SKS rifle was originally manufactured with a fixed 10 round magazine. However,
                  modified versions accept detachable magazines and are assault weapons.



     SKS with detachable magazine                 29                              12276(a)(11)
      Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3674 Page 67 of 127




     Springfield Armory BM 59                    30                           12276(a)(13)




                                                                                                  Springfield Armory BM 59
30




        MANUFACTURER: Springfield Armory
        MARKINGS: BM59 found in various locations on the firearm.
        Comments: Shown here without the detachable magazine. The marking “Beretta” may also be
                  found but is not material to identifying it as an assault weapon.
31    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3675 Page 68 of 127




                                                                                             Sterling MK-6
        MANUFACTURER: Sterling Armament Co Ltd. (England)
        MARKINGS: MK6 located on top of the magazine well.
        Comments: The magazine extends horizontally from the left side of the receiver.




     Sterling MK-6                                31                              12276(a)(14)
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     Steyr* AUG                                                          32      12276(a)(15)




                                                                                                       Steyr* AUG
32




        MANUFACTURER: Steyr*-Manlicher AG (member of the Steyr*-Daimler-Puch AG group)
        MARKINGS: AUG usually molded in the right side of the polymer stock and followed by /SA.
        Comments: This firearm is in a bullpup configuration and is shown here with a muzzle cap and
                  without the detachable magazine.

        *Spelling of “Steyer” in the statute is a typographical error.
33    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3677 Page 70 of 127




           MANUFACTURER: IMI (Israel Military Industries)
           MARKINGS: UZI usually located on the left side of the receiver near the rear.
           Comments: Various other model markings located on the firearm are not material to identifying
                     it as an assault weapon. The UZI is shown here with stock collapsed.




     Uzi                                              33                                   12276(a)(2)     Uzi
      Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3678 Page 71 of 127




     Valmet M62S                                   34                                 12276(a)(16)




                                                                                                 Valmet M62S
34




         MANUFACTURER: Valmet (Finland)
         MARKINGS: M62/S usually located on right side of the receiver to the rear.
         Comments: none
35    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3679 Page 72 of 127




                                                                                            Valmet M71S
        MANUFACTURER: Valmet (Finland)
        MARKINGS: M71/S usually located on the right side of the receiver.
        Comments: Shown here without the detachable magazine.




     Valmet M71S                                  35                         12276(a)(16)
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     Valmet M78S                               36                        12276(a)(16)




                                                                                           Valmet M78S
36




        MANUFACTURER: Valmet (Finland)
        MARKINGS: M78S
        Comments: Shown here without the detachable magazine.
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                                                                                           Weaver Arms Nighthawk
37




        MANUFACTURER: Weaver Arms Ltd.
        MARKINGS: Nighthawk located on the left side of the receiver.
        Comments: none




     Weaver Arms Nighthawk                       37                      12276(a)(21)
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                                    PISTOLS
39




                                           39
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                                                  40
     Bushmaster Pistol                                                             12276(b)(8)




                                                                                             Bushmaster Pistol
40




        MANUFACTURER: Bushmaster Firearms
        MARKINGS: Bushmaster Pistol usually appears on the left side of the receiver.
        Comments: This firearm is in bullpup configuration.
41    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3685 Page 78 of 127




                                                                                                   Calico M-950
        MANUFACTURER: Calico Light Weapons Systems
        MARKINGS: M-950 is usually located on the left side of the receiver, below the magazine.
        Comments: An unconventional spiral magazine may be located on the top of the receiver as
                  pictured here.




     Calico M-950                                  41
                                                                                     12276(b)(7)
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     Encom MP-9 and MP-45                         42
                                                                                  12276(b)(2)




                                                                                                  Encom MP-9 and MP-45
42




        MANUFACTURER: Encom America
        MARKINGS: MP9 (or MP45) usually found on the left rear of the receiver.
        Comments: The MP9 and MP45 appear substantially the same but are in different calibers.
43    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3687 Page 80 of 127




                                                                                                  Intratec Tec-9
        MANUFACTURER: Intratec
        MARKINGS: TEC-9 is usually molded in the plastic on the left side of the magazine well.
        Comments: Shown here without the detachable magazine.




     Intratec TEC-9                                43                                12276(b)(4)
      Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3688 Page 81 of 127




                                                44
     MAC Types                                                                    12276(b)(3)




                                                                                                 MAC Types
44




         MANUFACTURER: various manufacturers
         MARKINGS: RPB sM10 or sM11, SWD Inc. M11, Advanced Armament Corp. M11, and
                    Military Armament Corp. M-11. These weapons are usually found with the
                    appropriate marks on the right side of the receiver above the pistol grip.
         Comments: none
45    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3689 Page 82 of 127




                                                                                               Sites Spectre
       MANUFACTURER: Sites SpA (Italy)
       MARKINGS: Spectre is usually located on the right side of the receiver.
       Comments: Shown here without the detachable magazine.



     Sites Spectre                                 45                            12276(b)(5)
      Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3690 Page 83 of 127




                                                   46
     Sterling MK-7                                                                   12276(b)(6)




                                                                                                   Sterling MK-7
46




        MANUFACTURER: Sterling Armament Co. Ltd. (England)
        MARKINGS: MK7 usually appears on the top of the magazine well.
        Comments: The magazine well extends horizontally from the left side of the receiver.
47    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3691 Page 84 of 127




        MANUFACTURER: IMI (Israel Military Industries)
        MARKINGS: UZI usually located on the left side of the receiver below the rear sight.
        Comments: none


     Uzi                                            47                                          Uzi
                                                                                      12276(b)(1)
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                                 SHOTGUNS
49




                                           49
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     Franchi Law 12                               50
                                                                                    12276(c)(1)




                                                                                                Franchi Law 12
50




        MANUFACTURER: Luigi Franchi SPA
        MARKINGS: LAW 12 usually appears on the right side of the receiver above the trigger.
        Comments: none
51    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3695 Page 88 of 127




                                                                                                  Franchi SPAS 12
        MANUFACTURER: Luigi Franchi SPA
        MARKINGS: SPAS 12 usually appears on the right side of the receiver above the trigger.
        Comments: This shotgun fires in semiautomatic or pump-action modes.




     Franchi SPAS 12                               51                               12276(c)(1)
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     The Streetsweeper Type S/S Inc.                52                                12276(c)(3)




                                                                                                    The Streetsweeper Type S/S Inc.
52




        MANUFACTURER: S/S Inc. (may have the Cobray insignia).
        MARKINGS: SS /12 is usually located on the front of the receiver above the winding key.
        Comments: none
53    Case 3:19-cv-01537-BEN-JLB Document 33-4 Filed 01/23/20 PageID.3697 Page 90 of 127




        MANUFACTURER: various manufacturers




                                                                                                         Striker 12
        MARKINGS: Striker-12 usually appears on the left side of the receiver where the barrel affixes
                  to the receiver.
        Comments: Shown here with a short barrel and without a stock attached.



     Striker 12                                    53                                12276(c)(2)
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                                             54
54
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                                 Category 2.
         Penal Code Section 12276, subdivision (e)
                            AK and AR-15
55




                            Series Weapons
                          (Kasler v. Lockyer)


                                            55
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                                                            56
     AK and AR-15 Series Weapons




                                                                                                                      AK and AR-15 Series Weapons
     CATEGORY 2
     AK and AR-15 Series Weapons (Kasler v. Lockyer)

     This California Supreme Court decision took effect on August 16, 2000. Under this decision, any firearm of
     minor variation of the AK or AR-15 type (i.e., series weapon), regardless of the manufacturer, is a Category 2
     (Kasler v. Lockyer) assault weapon under the original Roberti-Roos Assault Weapons Control Act of 1989.
     All AK and AR-15 series weapons had to be possessed before August 16, 2000 and must have been
     registered on or before January 23, 2001. The Department of Justice is required to identify these series
56




     weapons and includes in this publication a listing of identified AK and AR-15 series weapons.

     It is important to note that removal of a firearm’s characteristics does not affect its status as a Category
     2 assault weapon. A Category 2 assault weapon is still an assault weapon even if it has no Category 3
     (SB 23 - generic characteristics) features.

     Category 2 assault weapons may be of any caliber, including .22 caliber rimfire.
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     AK Series Weapons

     The following pages show markings and illustrations of AK series weapons subsequently identified as
     Roberti-Roos assault weapons as a result of the California Supreme Court’s ruling in Kasler v. Lockyer on
     August 16, 2000. Listed weapons were required to be purchased on or before August 16, 2000 and registered
     as assault weapons on or before January 23, 2001, with the exception of original Category 1 (Roberti-Roos)
     assault weapons, which were required to be registered on or before March 31, 1992. Category 1 weapon
     models on the list are noted with asterisks.




                                                                                                                     AK Series Weapons
     The markings on each of these firearms can usually be found on the receiver. In some cases, the markings
     appear on the trundle (between the barrel and the receiver).
57




     Caliber has no bearing on a weapon’s status as a series weapon and should be disregarded when making an
     identification. For example, a ROMAK AK-47 is a series weapon whether it is in .223 cal, .308 cal, or 7.62
     X 39 mm.

     The makes and models provided in this guide include those which the Department of Justice was able to
     locate prior to printing this booklet. It is probable that some series weapons unknown to the Department of
     Justice are in circulation. If you encounter a suspected series weapon that is not specifically identified in
     this booklet, please contact the Firearms Division at (916) 263-4887 for identification of that weapon.
     Additional assault weapon models as they are identified will be included in future versions of this guide and
     will be posted on our website at www.ag.ca.gov/firearms/awguide/.


     AK Series Weapons                                       57                  Penal Code § 12276(e)
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                                                                            58
      AK Series Weapons                                                                           Penal Code § 12276(e)




                                                                                                                                    AK Series Weapons
        AK Series markings include, but are not limited to, the following:

       American Arms                       Kalashnikov USA                       Mitchell Arms, Inc.          Ohio Ordnance Works
          AK-Y 39                              Hunter Rifle /Saiga                   AK-47 (all)              (o.o.w.)
          AK-F 39                                                                    AK-47 Cal. 308 (all)          AK-74
          AK-C 47                          MAADI CO                                  M-76                          ROMAK 991
          AK-F 47                            *AK47                                   RPK
                                             *ARM                                    M-90                     Poly Technologies
       Arsenal                               MISR (all)                                                           *AKS
           SLR (all)                         MISTR (all)                         Norinco                          *AK47
           SLG (all)                                                                 AK-47 (all)
                                           Made in China                             Hunter Rifle             Valmet
       B-West                                 *AK                                    NHM 90, 90-2, 91 Sport
58




                                                                                                                 Hunter Rifle
          AK-47 (all)                         *AKM                                   RPK Rifle                   76 S
                                              *AKS                                   *56
       Hesse Arms                             *AK47                                  *56 S                    WUM
          Model 47 (all)                      *56                                     81 S (all)                WUM (all)
          Wieger STG 940 Rifle                *56S                                   *84 S
                                              *84S                                    86 (all)
       Inter Ordnance - Monroe, NC            *86S                                   *86 S
           AK-47 (all)                                                               MAK 90
           RPK                             MARS
           M-97                              Pistol



     * These weapons were required to be registered on or before March 31, 1992.
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                                                                                                     AK Series Weapons (Continued)
59




      Comments: The firearms pictured represent the general appearance of the AK series; however,
                these firearms may be found in various configurations as pictured in this section.

     AK Series Weapons (Continued)                  59              Penal Code § 12276(e)
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                                                    60
     AK Series Weapons (Continued)                                  Penal Code § 12276(e)




                                                                                                     AK Series Weapons (Continued)
60




      Comments: The firearms pictured represent the general appearance of the AK series; however,
                these firearms may be found in various configurations as pictured in this section.
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                                                                                                     AK Series Weapons (Continued)
61




      Comments: The firearms pictured represent the general appearance of the AK series; however,
                these firearms may be found in various configurations as pictured in this section.


     AK Series Weapons (Continued)                 61              Penal Code § 12276(e)
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                                                             62
     AR-15 Series Weapons




                                                                                                                     AR-15 Series Weapons
     AR-15 Series Weapons

     The following pages show markings and illustrations of AR-15 series weapons. The Colt AR-15 was the
     only AR-15 series weapon to be originally identified as an assault weapon under the Roberti-Roos Assault
     Weapons Control Act of 1989, and was required to be registered on or before March 31, 1992. With the
     exception of the Colt AR-15, all of the listed AR-15 series weapons were subsequently identified by the
     Department of Justice as Category 2 assault weapons as a result of the Kasler v. Lockyer California Supreme
     Court ruling effective August 16, 2000. Category 2 (Kasler v. Lockyer) weapons were required to be
     purchased on or before August 16, 2000 and registered as assault weapons on or before January 23, 2001.
     The markings on these firearms usually appear on the left side of the lower receiver.
62




     Caliber has no bearing on a weapon’s status as a series weapon and should be disregarded when making an
     identification. For example, upper receiver conversion kits are available to convert almost any AR series
     weapon into .45 ACP, .40 S&W, 7.62 X 39 mm, 9 mm, 10 mm, or .223 caliber.

     The makes and models provided in this guide include those which the Department of Justice was able to
     locate prior to printing this booklet. It is probable that some series weapons in circulation are unknown to
     the Department of Justice. If you encounter a suspected series weapon that is not specifically named in this
     booklet, please contact the Firearms Division at (916) 263-4887 for identification of that weapon.
     Additional assault weapon models as they are identified will be included in future versions of this guide and
     will be posted on the Firearms Division website at www.ag.ca.gov/firearms/awguide/.
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       AR-15 Series markings include, but are not limited to, the following:
         American Spirit                     Eagle Arms                            Ordnance, Inc.
            ASA Model                           M15 (all)                             AR-15
                                                EA-15 A2 H-BAR
         Armalite                               EA-15 E1                           Palmetto
            AR 10 (all)                                                                SGA (all)
            M15 (all)                        Frankford Arsenal
            Golden Eagle                        AR-15 (all)                        Professional Ordnance, Inc.
                                                                                       Carbon 15 Rifle
         Bushmaster                          Hesse Arms                                Carbon 15 Pistol




                                                                                                                 AR-15 Series Weapons
            XM15 (all)                          HAR 15A2 (all)
                                                                                   PWA
         Colt                                Knights                                 All Models
63




                *AR-15 (all)                     SR-15 (all)
                Sporter (all)                    SR-25 (all)                       Rock River Arms, Inc.
                Match Target (all)               RAS (all)                            Standard A-2
                Law Enforcement (6920)                                                Car A2
                                             Les Baer                                 Standard A-4 Flattop
         Dalphon                                 Ultimate AR (all)                    Car A4 Flattop
             B.F.D.                                                                   NM A2 - DCM Legal
                                             Olympic Arms                             LE Tactical Carbine
         DPMS                                   AR-15
            Panther (all)                       Car-97                             Wilson Combat
                                                PCR (all)                              AR-15


     * These weapons were required to be registered on or before March 31, 1992.

       AR-15 Series Weapons                                                   63
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                                                   64
     AR-15 Series Weapons (Continued)                           Penal Code § 12276(e)




                                                                                             AR-15 Series Weapons (Continued)
64




     Comments: The firearm pictured represents one general appearance of the AR-15 series.
               However, these firearms may be found in various configurations.
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                                                                                               AR-15 Series Weapons (Continued)
65




       Comments: The firearm pictured represents one general appearance of the AR-15 series.
                 However, these firearms may be found in various configurations.



     AR-15 Series Weapons (Continued)              65            Penal Code § 12276(e)
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                                                 66
     AR-15 Series Weapons (Continued)                         Penal Code § 12276(e)




                                                                                               AR-15 Series Weapons (Continued)
66




       Comments: The firearm pictured represents one general appearance of the AR-15 series.
                 However, these firearms may be found in various configurations.
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                                                                                               AR-15 Series Weapons (Continued)
67




       Comments: The firearm pictured represents one general appearance of the AR-15 series.
                 However, these firearms may be found in various configurations.



     AR-15 Series Weapons (Continued)           67             Penal Code § 12276(e)
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                                 Category 3.
                     Penal Code Section 12276.1
             Assault Weapons Defined and
69




              Identified based on Generic
                     Characteristics


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     CATEGORY 3

     Assault Weapon Generic Characteristics (Penal Code Section 12276.1)

     The Roberti-Roos Assault Weapons Control Act of 1989 (Penal Code section 12276) regulates specific assault
     weapons by makes and models. Since its passage in 1989, many manufacturers created new firearm models
     that have very similar characteristics to controlled assault weapons. In response, the Legislature passed and the
     governor signed SB 23 (Chapter 129, Statutes of 1999), which created Penal Code section 12276.1 to define
     assault weapons by generic characteristics. It is important to understand that the Roberti-Roos Assault Weap-
     ons Control Act of 1989 (Penal Code section 12276), which lists assault weapons by make and model, is still
70




     the law and those weapons were required to be registered on or before March 31, 1992 (with the exception of
     certain AK series and AR-15 series weapons, which were required to be registered on or before January 23,
     2001). (Penal Code §§ 12276.1)

     Penal Code section 12276.1 complements rather than supersedes the Roberti-Roos Assault Weapons Control
     Act of 1989. A firearm that is of a type specified in Penal Code Section 12276.1 that has any of the specified
     characteristics listed for that type of firearm is considered a Category 3 (generic characteristics) assault weapon.
     Under Penal Code section 12276.1, a firearm’s make, model, or markings have no bearing on whether it is an
     assault weapon. A firearm’s status as an assault weapon under this category is determined solely by its charac-
     teristics. There are three general types of firearms that are controlled by the generic characteristics assault
     weapons laws. These types include semiautomatic centerfire rifles, semiautomatic pistols, and semiautomatic
     or revolving cylinder shotguns.
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     Generic Characteristics Defining Assault Weapons:

     12276.1 (a) Notwithstanding Penal Code section 12276, “assault weapon” shall also mean the following:
      Rifles
         (1) A semiautomatic, centerfire rifle that has the capacity to accept a detachable magazine and any one of
            the following:
           (A) A pistol grip that protrudes conspicuously beneath the action of the weapon.
           (B) A thumbhole stock.
           (C) A folding or telescoping stock.
71




           (D) A grenade launcher or flare launcher.
           (E) A flash suppressor.
           (F) A forward pistol grip.
         (2) A semiautomatic, centerfire rifle that has a fixed magazine with the capacity to accept more than 10
            rounds.
         (3) A semiautomatic, centerfire rifle that has an overall length of less than 30 inches.

     Note: Bayonets and bayonet lugs are not assault weapon characteristics under California law.




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                                                             72

     Pistols
        (4) A semiautomatic pistol that has the capacity to accept a detachable magazine and any one of the fol-
           lowing:
          (A) A threaded barrel, capable of accepting a flash suppressor, forward handgrip, or silencer.
          (B) A second handgrip.
          (C) A shroud that is attached to, or partially or completely encircles, the barrel that allows the bearer to
             fire the weapon without burning his or her hand, except a slide that encloses the barrel.
          (D) The capacity to accept a detachable magazine at some location outside of the pistol grip.
        (5) A semiautomatic pistol with a fixed magazine that has the capacity to accept more than 10 rounds.

     Shotguns
72




       (6) A semiautomatic shotgun that has both of the following:
         (A) A folding or telescoping stock.
         (B) A pistol grip that protrudes conspicuously beneath the action of the weapon, thumbhole stock, or
            vertical handgrip.
       (7) A semiautomatic shotgun that has the ability to accept a detachable magazine.
       (8) Any shotgun with a revolving cylinder.
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                        LARGE CAPACITY
                          MAGAZINES
73




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                 Large Capacity Magazine Restrictions and Exemptions (Penal Code Section 12020)

     A large capacity magazine is defined as “any ammunition feeding device with a capacity to accept more than 10
     rounds but shall not be construed to include a feeding device that is permanently altered so that it cannot ac-
     commodate more than 10 rounds nor shall it include any .22 caliber tube ammunition feeding device (or, effec-
     tive January 1, 2002, a tubular magazine contained in a lever-action firearm).” It is important to understand that
     a large capacity feeding device may be detachable or fixed, and includes any tube ammunition feeding device
     (other than .22 caliber or, effective January 1, 2002, a tubular magazine contained in a lever-action firearm) that
     can accommodate more than 10 rounds. A large capacity magazine also includes linked ammunition with more
     than 10 rounds linked together or an ammunition belt with the capacity to accept more than 10 rounds.
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     Possession of large capacity magazines, whether by peace officers or private citizens, is not controlled.

     The manufacturing, importation into the state, offering for sale, keeping for sale, exposing for sale,
     giving, and lending of a large capacity magazine is controlled. No person may participate in these activities
     without a permit issued by the Department of Justice. For exceptions, see Penal Code §§12020(b)(19)-(32).

     Specified law enforcement agencies and their employees are exempt from these restrictions. These agencies
     and employees include any federal, state, county, city and county, or city, law enforcement agencies and em-
     ployees of those agencies while discharging their official duties, whether on-duty or off-duty, where the use is
     authorized by the agency within the scope of their duties. This exemption includes the sale of, giving of,
     lending of, importation into the state, or purchase of any large capacity magazine.
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     Peace officers (distinct from law enforcement agencies) who are authorized to carry firearms in the course and
     scope or their duties are exempted. This exemption includes the sale to, lending to, purchase of, purchase by,
     receipt of, or importation into the state of large capacity magazines. For record keeping purposes, a peace
     officer who purchases large capacity magazines from a firearms dealer is required to provide that firearms
     dealer with a copy of his or her peace officer photo identification. In the event the magazine is stamped “RE-
     STRICTED LAW ENFORCEMENT/GOVERNMENT USE ONLY,” federal regulations require the law
     enforcement officer to provide the firearms dealer with: 1) A written statement from the officer, under penalty
     of perjury, that the magazine is being purchased for use in performing official duties and the it is not being
     acquired for personal use or for purposes of transfer or resale; and 2) a written statement from a supervisor of
     the purchasing officer, stating under penalty of perjury that the officer is acquiring the magazine for use in
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     official duties, that the magazine is suitable for use in performing official duties, and that the magazine is not
     being acquired for personal use or for purposes of transfer or resale.

     Other allowances are made for firearms dealers; the loaning of large capacity magazines under specified condi-
     tions; the importation into the state of previously owned magazines by residents who lawfully possessed those
     magazines prior to January 1, 2000 and who lawfully took them out of the state; the repair of magazines; impor-
     tation of large capacity magazine by permitted individuals; the armored car industry; manufacturing large
     capacity magazines for specified purposes; and prop masters (Penal Code §§ 12020(b)(21)-(32)).

     Punishment – Felony or Misdemeanor. (Penal Code § 12020(a)(2))
     Law Enforcement Exemption – Agencies and sworn peace officers. (Penal Code §§ 12020(b)(19), (20))


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                            Selected Recent
                           Firearms-Related
77




                               Legislation



                                            77
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                Peace Officer Registration and Acquisition of Assault Weapons (Penal Code Section 12280(g))
     Effective January 1, 2002, a peace officer member of the Department of Justice, police departments, sheriffs’ offices,
     marshals’ offices, the Youth and Adult Corrections Agency, the Department of the California Highway Patrol, district
     attorneys’ offices, Department of Fish and Game, Department of Parks and Recreation, or the military or naval forces of
     this state or of the United States, or any federal law enforcement agency, who possesses or receives an assault weapon
     prior to January 1, 2002, may, with the authorization of his or her agency, retain and personally possess that firearm
     provided he or she registers it as an assault weapon with the Department of Justice on or before April 1, 2002. Such a
     peace officer may also, with the authorization of his or her agency, personally purchase or receive an assault weapon on or
     after January 1, 2002, provided he or she registers it as an assault weapon with the Department of Justice within 90 days
     after possession or receipt. Assault weapon registration forms are available from the Department of Justice and may be
     obtained by calling (916) 227-3694.
     Acceptable agency authorization is defined as verifiable written certification from the head of the agency identifying the
     recipient or possessor of the assault weapon as a peace officer and authorizing him or her to receive or possess the specific
     assault weapon. The peace officer must include a copy of this authorization with the assault weapon registration.
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                                     Large-Capacity Magazines (Penal Code Section 12020)
     Effective January 1, 2002, tubular magazines contained in lever-action firearms are excluded from the definition of “large
     capacity magazine.” This change removes statutory prohibitions against manufacturing, selling, giving, lending, etc.,
     many “old west” style lever-action rifles.
     Effective January 1, 2002, technical amendments to Penal Code section 12020 expressly allow properly licensed persons
     to manufacture large-capacity magazines. Prop masters may also purchase and loan large-capacity magazines.

                              Criminal Storage of a Firearm (Penal Code Sections 12035 & 12036)
     Effective January 1, 2002, the age under which persons are considered “children” for purposes of criminal storage of a
     firearm is increased from 16 years to 18 years. Any person guilty of criminal storage of a firearm is guilty of an addi-
     tional misdemeanor and a fine of up to $5,000 if the child took the firearm to a school or school-sponsored activity.
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                                   Glossary
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     Automatic firearm - An automatic firearm continues to self-load and fire as long as the trigger is held back and a supply
             of ammunition is present. In an automatic firearm, one pull on the trigger may result in multiple shots being
             fired.
     Caliber - The caliber of a firearm is the approximate diameter of the bore measured before rifling (or the diameter of a
            circle formed by the tops of the rifling lands).
     Flash suppressor - Any device designed, intended, or that functions to perceptibly reduce or redirect muzzle flash from
             the shooter’s field of vision.
     Forearm - The forward portion of a two-part stock which is usually under the barrel.
     Magazine - Any ammunition feeding device.
     Magazine, fixed - A magazine which remains affixed to the firearm during loading. Frequently a fixed magazine is
           charged (loaded) from a clip (en bloc or stripper) of cartridges inserted through the open breech into the maga-
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           zine.
     Magazine, detachable - An ammunition feeding device that can be removed readily from the firearm with neither
           disassembly of the firearm action nor use of a tool being required. A bullet or ammunition cartridge is considered
           a tool. Ammunition feeding device includes any belted or linked ammunition, but does not include clips, en bloc
           clips, or stripper clips that load cartridges into the magazine.
     Pistol Grip, conspicuously protruding - A grip that allows for a pistol style grasp in which the web of the trigger hand
             (between the thumb and index finger) can be placed below the top of the exposed portion of the trigger while
             firing.
     Pistol Grip, forward - A grip that allows for a pistol style grasp forward of the trigger.
     Receiver - The basic unit of a firearm which houses the firing and breech mechanism and to which the barrel and
            stock are assembled. The receiver may consist of two sections. In some autoloading pistols and other
            firearms, the terms receiver and frame are used interchangeably.
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     Receiver, lower - In a receiver composed of two parts, the lower receiver usually contains the trigger and firing
            mechanism.
     Receiver, upper - In a receiver composed of two parts, the upper receiver usually contains the barrel and breech
            mechanism.
     Semiautomatic firearm - This refers to a firearm which is self-loading but not self firing. A single pull on the
           trigger results in a single shot being fired.
     Stock - The part of a rifle, carbine or shotgun to which the barrel assembly is attached and which provides a means for
             holding the weapon to the shoulder.
     Stock, collapsing - A stock which is shortened by allowing one section to telescope into another.
     Stock, folding - A stock which is hinged to the receiver to allow the stock to be folded next to the receiver to reduce the
             overall length of the firearm.
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     Stock, thumbhole - A stock with a hole that allows the thumb of the trigger hand to penetrate into or through the stock
     while firing.




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                       Combined Listing of Category 1 and Category 2 Assault Weapons
     Italicized models are Category 1 and were required to be registered on or before March 31, 1992. Non-itali-
     cized models are Category 2 and were required to be registered with the Department of Justice on or before
     January 23, 2001. Category 3 assault weapons are not included in this listing.
     Rifles                          Beretta                           DPMS                          IMI
     American Arms                   AR-70                             Panther (all)                 Galil
     AK-C 47                                                                                         Uzi
     AK-F 39                         Bushmaster                        Eagle Arms
     AK-F 47                         Assault Rifle                     EA-15 A2 H-BAR                Inter Ordnance - Monroe, NC
     AK-Y 39                         XM15 (all)                        EA-15 E1                      AK-47 (all)
                                                                       M15 (all)                     M-97
     American Spirit                 Calico                                                          RPK
     ASA Model                       M-900                             Fabrique Nationale
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                                                                       308 Match, Sporter            J&R ENG
     Armalite                        Colt                              FAL, LAR, FNC                 M-68
     AR 10 (all)                     AR-15 (all)
     AR-180                          Law Enforcement (6920)            Frankford Arsenal             Kalashnikov USA
     Golden Eagle                    Match Target (all)                AR-15 (all)                   Hunter Rifle / Saiga
     M15 (all)                       Sporter (all)
                                                                       Hesse Arms                    Knights
     Arsenal                         Daewoo                            HAR 15A2 (all)                RAS (all)
     SLG (all)                       AR100, AR110C                     Model 47 (all)                SR-15 (all)
     SLR (all)                       K-1, K-2                          Wieger STG 940 Rifle          SR-25 (all)
                                     Max 1, Max 2
     B-West                                                            HK                            Les Baer
     AK-47 (all)                     Dalphon                           91, 94, PSG-1                 Ultimate AR (all)
                                     B.F.D.                            93
     This listing does not include firearms whose characteristics alone make them assault weapons (Category 3)
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     MAADI CO                       Norinco                             Poly technologies             Sterling
     AK 47                          56                                  AK47                          MK-6
     ARM                            56 S                                AKS
     MISR (all)                     81 S (all)                                                        Steyr
     MISTR (all)                    84 S                                Professional Ordnance, Inc.   AUG
                                    86 (all)                            Carbon 15 Rifle
     Made in China                  86 S                                                              SWD Incorporated
     56                             AK-47 (all)                         PWA                           M11
     56S                            Hunter Rifle                        All Models
     84S                            MAK 90                                                            Valmet
     86S                            NHM 90, 90-2, 91 Sport              Rock River Arms, Inc.         76 S
     AK                             RPK Rifle                           Car A2                        Hunter Rifle
     AK47                           SKS w/ detachable magazine          Car A4 Flattop                M62S, M71S, M78S
     AKM                                                                LE Tactical Carbine
     AKS                            Ohio Ordnance Works (o.o.w.)
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                                                                        NM A2 - DCM Legal             Weaver Arms
                                    AK-74                               Standard A-2                  Nighthawk
     Made in Spain                  ROMAK 991                           Standard A-4 Flattop
     CETME Sporter                                                                                    Wilson Combat
                                    Olympic Arms                        RPB Industries, Inc.          AR-15
     MAS                            AR-15                               sM10, sM11
     223                            Car-97                                                            WUM
                                    PCR (all)                           SIG                           WUM (all)
     Mitchell Arms, Inc.                                                AMT, PE-57
     AK-47 (all)                    Ordnance, Inc.                      SG 550, SG 551
     AK-47 Cal .308 (all)           AR-15
     M-76                                                               Springfield Armory
     M-90                           Palmetto                            BM59, SAR-48
     RPK                            SGA (all)

     This listing does not include firearms whose characteristics alone make them assault weapons (Category 3)

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     Pistols                        MARS                               Shotguns
     Advance Armament Inc.          Pistol                             Cobray
     M11                                                               Streetsweeper, S/S Inc., SS/12
                                    Military Armament Corp.            Striker 12
     Bushmaster                     M-11
     Pistol                                                            Franchi
                                    Professional Ordnance, Inc.        SPAS 12, LAW 12
     Calico                         Carbon 15 Pistol
     M-950
                                    RPB Industries Inc.
     Encom                          sM10, sM11
     MP-9, MP-45
                                    Sites
                                    Spectre
     IMI
     UZI
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                                    Sterling
                                    MK-7
     Intratec
     TEC-9
                                    SWD Incorporated
                                    M11

     This listing does not include firearms whose characteristics alone make them assault weapons (Category 3)

     This listing includes models of Category 1 (Roberti-Roos) and Category 2 (AK & AR-15 series) assault
     weapons that have been brought to our attention and examined. If you have a suspected Category 2 assault
     weapon that does not appear on this list, please contact the Department of Justice at (916) 263-4887 for an
     identification of that firearm. This listing does not include Category 3 (Penal Code section 12276.1) assault
     weapons, which are defined by their characteristics, not by make/model. Category 2 assault weapons must
     have been registered with the California Department of Justice on or before January 23, 2001. Category 3
     assault weapons must have been registered with the Department of Justice on or before December 31, 2000.
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                               EXHIBIT B
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  Barclays Official California Code of Regulations CurrentnessTitle 11. LawDivision 5. Firearms Regulations
  Chapter 39. Assault Weapons and Large-Capacity Magazines Article 2. Registration Requirement, What
  Qualifies for Registration, and Definitions

                                                        11 CCR § 5471

                       § 5471. Registration of Assault Weapons Pursuant to Penal Code Section
                     30900(b)(1); Explanation of Terms Related to Assault Weapon Designation.



For purposes of Penal Code section 30900 and Articles 2 and 3 of this Chapter the following definitions shall apply:


(a) “Ability to accept a detachable magazine” means with respect to a semiautomatic shotgun, it does not have a fixed magazine.


(b) “Action” means the working mechanism of a semiautomatic firearm, which is the combination of the receiver or frame and
breech bolt together with the other parts of the mechanism by which a firearm is loaded, fired, and unloaded.


(c) “Barrel” means the tube, usually metal and cylindrical, through which a projectile or shot charge is fired. Barrels may have
a rifled or smooth bore.


(d) “Barrel length” means the length of the barrel measured as follows: Without consideration of any extensions or protrusions
rearward of the closed bolt or breech-face the approved procedure for measuring barrel length is to measure from the closed bolt
(or breech-face) to the furthermost end of the barrel or permanently attached muzzle device. Permanent methods of attachment
include full-fusion gas or electric steel-seam welding, high-temperature (1100 o F) silver soldering, or blind pinning with the
pin head welded over. Barrels are measured by inserting a dowel rod into the barrel until the rod stops against the closed bolt
or breech-face. The rod is then marked at the furthermost end of the barrel or permanently attached muzzle device, withdrawn
from the barrel, and measured.


(e) “Bullet” means the projectile expelled from a gun. It is not synonymous with a cartridge. Bullets can be of many materials,
shapes, weights, and constructions such as solid lead, lead with a jacket of harder metal, round-nosed, flat-nosed, hollow-
pointed, et cetera.


(f) “Bullet-button” means a product requiring a tool to remove an ammunition feeding device or magazine by depressing a
recessed button or lever shielded by a magazine lock. A bullet-button equipped fully functional semiautomatic firearm does not
meet the fixed magazine definition under Penal Code section 30515(b).


(g) “Bore” means the interior of a firearm's barrel excluding the chamber.


(h) “Caliber” means the nominal diameter of a projectile of a rifled firearm or the diameter between lands in a rifled barrel.
In the United States, caliber is usually expressed in hundreds of an inch; in Great Britain in thousandths of an inch; in Europe
and elsewhere in millimeters.



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(i) “Cartridge” means a complete round of ammunition that consists of a primer, a case, propellant powder and one or more
projectiles.


(j) “Centerfire” means a cartridge with its primer located in the center of the base of the case.


(k) “Contained in” means that the magazine cannot be released from the firearm while the action is assembled. For AR-15
style firearms this means the magazine cannot be released from the firearm while the upper receiver and lower receiver are
joined together.


(l) “Department” means the California Department of Justice.


(m) “Detachable magazine” means any ammunition feeding device that can be removed readily from the firearm without
disassembly of the firearm action or use of a tool. A bullet or ammunition cartridge is considered a tool. An ammunition feeding
device includes any belted or linked ammunition, but does not include clips, en bloc clips, or stripper clips that load cartridges
into the magazine.

An AR-15 style firearm that has a bullet-button style magazine release with a magnet left on the bullet-button constitutes a
detachable magazine. An AR-15 style firearm lacking a magazine catch assembly (magazine catch, magazine catch spring
and magazine release button) constitutes a detachable magazine. An AK-47 style firearm lacking a magazine catch assembly
(magazine catch, spring and rivet/pin) constitutes a detachable magazine.


(n) “Disassembly of the firearm action” means the fire control assembly is detached from the action in such a way that the action
has been interrupted and will not function. For example, disassembling the action on a two part receiver, like that on an AR-15
style firearm, would require the rear take down pin to be removed, the upper receiver lifted upwards and away from the lower
receiver using the front pivot pin as the fulcrum, before the magazine may be removed.


(o) “Featureless” means a semiautomatic firearm (rifle, pistol, or shotgun) lacking the characteristics associated with that
weapon, as listed in Penal Code section 30515.


(p) “Fixed magazine” means an ammunition feeding device contained in, or permanently attached to, a firearm in such a manner
that the device cannot be removed without disassembly of the firearm action.


(q) “Flare launcher” means a device used to launch signal flares.


(r) “Flash suppressor” means any device attached to the end of the barrel, that is designed, intended, or functions to perceptibly
reduce or redirect muzzle flash from the shooter's field of vision. A hybrid device that has either advertised flash suppressing
properties or functionally has flash suppressing properties would be deemed a flash suppressor. A device labeled or identified
by its manufacturer as a flash hider would be deemed a flash suppressor.


(s) “FMBUS” means a Firearm Manufactured By Unlicensed Subject.



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(t) “Forward pistol grip” means a grip that allows for a pistol style grasp forward of the trigger.


(u) “Frame” means the receiver of a pistol.


(v) “Grenade launcher” means a device capable of launching a grenade.


(w) “Permanently attached to” means the magazine is welded, epoxied, or riveted into the magazine well. A firearm with a
magazine housed in a sealed magazine well and then welded, epoxied, or riveted into the sealed magazine well meets the
definition of “permanently attached to”.


(x) “Overall length of less than 30 inches” with respect to a centerfire rifle means the rifle has been measured in the shortest
possible configuration that the weapon will function/fire and the measurement is less than 30 inches. Folding and telescoping
stocks shall be collapsed prior to measurement. The approved method for measuring the length of the rifle is to measure the
firearm from the end of the barrel, or permanently attached muzzle device, if so equipped, to that part of the stock that is furthest
from the end of the barrel, or permanently attached muzzle device. (Prior to taking a measurement the owner must also check
any muzzle devices for how they are attached to the barrel.)


(y) “Pistol” means any device designed to be used as a weapon, from which a projectile is expelled by the force of any explosion,
or other form of combustion, and that has a barrel less than 16 inches in length. This definition includes AR-15 style pistols
with pistol buffer tubes attached. Pistol buffer tubes typically have smooth metal with no guide on the bottom for rifle stocks
to be attached, and they sometimes have a foam pad on the end of the tube farthest from the receiver.


(z) “Pistol grip that protrudes conspicuously beneath the action of the weapon” means a grip that allows for a pistol style grasp
in which the web of the trigger hand (between the thumb and index finger) can be placed beneath or below the top of the exposed
portion of the trigger while firing. This definition includes pistol grips on bullpup firearm designs.


(aa) “Receiver” means the basic unit of a firearm which houses the firing and breech mechanisms and to which the barrel and
stock are assembled.


(bb) “Receiver, lower” means the lower part of a two part receiver.


(cc) “Receiver, unfinished” means a precursor part to a firearm that is not yet legally a firearm. Unfinished receivers may be
found in various levels of completion. As more finishing work is completed the precursor part gradually becomes a firearm.
Some just have the shape of an AR-15 lower receiver for example, but are solid metal. Some have been worked on and
the magazine well has been machined open. Firearms Manufactured by Unlicensed Subjects (FMBUS) began as unfinished
receivers.


(dd) “Receiver, upper” means the top portion of a two part receiver.




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(ee) “Rifle” means a weapon designed or redesigned, made or remade, and intended to be fired from the shoulder and designed
or redesigned and made or remade to use the energy of the explosive in a fixed cartridge to fire only a single projectile through
a rifled bore for each single pull of the trigger.


(ff) “Rimfire” means a rimmed or flanged cartridge with the priming mixture located in the rim of the case.


(gg) “Second handgrip” means a grip that allows the shooter to grip the pistol with their non-trigger hand. The second hand
grip often has a grip texture to assist the shooter in weapon control.


(hh) “Semiautomatic” means a firearm functionally able to fire a single cartridge, eject the empty case, and reload the chamber
each time the trigger is pulled and released. Further, certain necessary mechanical parts that will allow a firearm to function in a
semiautomatic nature must be present for a weapon to be deemed semiautomatic. A weapon clearly designed to be semiautomatic
but lacking a firing pin, bolt carrier, gas tube, or some other crucial part of the firearm is not semiautomatic for purposes of
Penal Code sections 30515, 30600, 30605(a), and 30900.


     (1) A mechanically whole semiautomatic firearm merely lacking ammunition and a proper magazine is a semiautomatic
     firearm.


     (2) A mechanically whole semiautomatic firearm disabled by a gun lock or other firearm safety device is a semiautomatic
     firearm. (All necessary parts are present, once the gun lock or firearm safety device is removed, and weapon can be loaded
     with a magazine and proper ammunition.)


     (3) With regards to an AR-15 style firearm, if a complete upper receiver and a complete lower receiver are completely
     detached from one another, but still in the possession or under the custody or control of the same person, the firearm is
     not a semiautomatic firearm.


     (4) A stripped AR-15 lower receiver, when sold at a California gun store, is not a semiautomatic firearm. (The action type,
     among other things, is undetermined.)


(ii) “Shotgun with a revolving cylinder” means a shotgun that holds its ammunition in a cylinder that acts as a chamber much
like a revolver. To meet this definition the shotgun's cylinder must mechanically revolve or rotate each time the weapon is fired.
A cylinder that must be manually rotated by the shooter does not qualify as a revolving cylinder.


(jj) “Shroud” means a heat shield that is attached to, or partially or completely encircles the barrel, allowing the shooter to fire
the weapon with one hand and grasp the firearm over the barrel with the other hand without burning the shooter's hand. A slide
that encloses the barrel is not a shroud.


(kk) “Spigot” means a muzzle device on some firearms that are intended to fire grenades. The spigot is what the grenade is
attached to prior to the launching of a grenade.




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(ll) “Stock” means the part of a rifle, carbine, or shotgun to which the receiver is attached and which provides a means for
holding the weapon to the shoulder. A stock may be fixed, folding, or telescoping.


(mm) “Stock, fixed” means a stock that does not move, fold, or telescope.


(nn) “Stock, folding” means a stock which is hinged in some fashion to the receiver to allow the stock to be folded next to the
receiver to reduce the overall length of the firearm. This definition includes under folding and over folding stocks.


(oo) “Stock, telescoping” means a stock which is shortened or lengthened by allowing one section to telescope into another
portion. On AR-15 style firearms, the buffer tube or receiver extension acts as the fixed part of the stock on which the telescoping
butt stock slides or telescopes.


(pp) “Those weapons with an ammunition feeding device that can be readily removed from the firearm with the use of a tool”
includes functional semiautomatic rifles, pistols, and shotguns with bullet-button style magazine releases. These weapons do
not have a fixed magazine.


(qq) “Thumbhole stock” means a stock with a hole that allows the thumb of the trigger hand to penetrate into or through the
stock while firing.


(rr) “Threaded barrel, capable of accepting a flash suppressor, forward handgrip, or silencer” means a threaded barrel able to
accept a flash suppressor, forward handgrip, or silencer, and includes a threaded barrel with any one of those features already
mounted on it. Some firearms have “lugs” in lieu of threads on the end of the barrel. These lugs are used to attach some versions
of silencers. For purposes of this definition a lugged barrel is the same as a threaded barrel.


Note: Authority cited: Section 30900, Penal Code. Reference: Sections 30515 and 30900, Penal Code.


                                                            HISTORY

1. New section filed 7-31-2017; operative 7-31-2017. Submitted to OAL for filing and printing only pursuant to Penal Code
section 30900(b)(5) (Register 2017, No. 31). For prior history, see Register 2011, No. 52.


This database is current through 1/3/20 Register 2020, No. 1

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